                    Exhibit A
                    Exhibit




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        Case.net:2516-CV04651 - STACIE MCCALL V TRUMAN MEDICAL CENTER, INC. (E-CASE) - Docket Entries

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 03/10/2025
              Notice of Service
              Return of Service.
                 Filed By: SARAH JESSICA DUGGAN
                 On Behalf Of: STACIE MCCALL
              Corporation Served
              Document ID - 25-SMCC-1869; Served To - TRUMAN MEDICAL CENTER, INC.; Served Date - 02/27/2025; Served Time -
              10:40:00; Service Type - SP; Reason Description - SERV; Service Text -DELIVERED A COPY OF SUMMONS TO AMANDA
              O'NEILL; Updated Service Text - Document ID - 25-SMCC-1869; Served To - TRUMAN MEDICAL CENTER, INC.; Served Date -
              02/27/2025; Served Time - 10:40:00; Service Type - SP; Reason Description - SERV; Service Text -DELIVERED A COPY OF
              SUMMONS TO AMANDA O'NEILL
 02/25/2025
              Summons Issued-Circuit
              Document ID: 25-SMCC-1869, for TRUMAN MEDICAL CENTER, INC..
              Order - Special Process Server
 02/21/2025
              Motion Special Process Server
              Motion for Appointment of Private Process Server.
                Filed By: SARAH JESSICA DUGGAN
                On Behalf Of: STACIE MCCALL
 02/20/2025
              Correspondence Sent
              Case Mgmt Conf Scheduled

                 Scheduled For: 06/09/2025; 9:00 AM; PATRICK CHARLES EDWARDS; Jackson - Kansas City
 02/17/2025
              Filing Info Sheet eFiling

                 Filed By: SARAH JESSICA DUGGAN
              Motion Special Process Server
              Motion for Private Process Server.
                 Filed By: SARAH JESSICA DUGGAN
                 On Behalf Of: STACIE MCCALL
              Summ Req-Circuit Pers Serv
              Request for Summons.
                 Filed By: SARAH JESSICA DUGGAN
                 On Behalf Of: STACIE MCCALL
              Designation of Lead Attorney
              Designation of Lead Attorney of Record.
                 Filed By: SARAH JESSICA DUGGAN
                 On Behalf Of: STACIE MCCALL
              Confid Filing Info Sheet Filed
              Civil Filing Information Sheet.
                 Filed By: SARAH JESSICA DUGGAN
                 On Behalf Of: STACIE MCCALL
              CRIFS/Unredacted Document
              CRIF with Petition; CRIF Exhibit A; Exhibit B; Exhibit C in associated to Circuit Court filed on 02/17/2025.
                 Filed By: SARAH JESSICA DUGGAN
                 On Behalf Of: STACIE MCCALL
                 Associated Entries: 02/17/2025 -
              Pet Filed in Circuit Ct
                +
                     Case 4:25-cv-00218-WBG                   Document 1-1            Filed 03/28/25          Page 2 of 48
Pet
Pet Filed
     Filed in
            in Circuit
               Circuit CtCt
Petition; Exhibit
Petition;  ExhibitA;A; Exhibit
                       Exhibit B;
                               B; Exhibit
                                  Exhibit C.
                                          C.
    Filed
    Filed By:
           By: SARAH
                SARAH JESSICA
                           JESSICA DUGGAN
                                     DUGGAN
    On
    On Behalf
         Behalf Of:
                 Of: STACIE
                      STACIE MCCALL
                                MCCALL
   Associated Entries:
   Associated Entries: 02/17/2025
                       02/17/2025 -- CRIFS/Unredacted
                                     CRIFS/Unredacted Document
                                                      Document    +




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                                                                                                    Wd 8T:€0 - SZ0z ‘ZT Areniqas - ALIO SVSNV - NOSHOVE - pails Ajpeo1u0.99)3
                                                                                 2516-CV04651
                                                                                 2516-CV04651


             IN
             IN THE
                THE CIRCUIT
                    CIRCUIT COURT
                            COURT OF
                                   OF JACKSON
                                      JACKSON COUNTY,
                                               COUNTY, MISSOURI
                                                       MISSOURI
                               AT
                               AT KANSAS
                                  KANSAS CITY
                                          CITY

STACIE
STACIE MCCALL,
       MCCALL,                                    )
                                                  )




                                                    SS
                            Plaintiff,
                            Plaintiff,            )




                                                    O_O“
                                                  )
v.
Vv.                                               )        Case No: ______
                                                           Case No:
                                                  )
TRUMAN
 TRUMAN MEDICAL
              MEDICAL CENTER,
                            CENTER, INC.
                                       INC. D/B/A
                                            D/B/A )
UNIVERSITY HEALTH
UNIVERSITY         HEALTH –     — BEHAVIORAL
                                  BEHAVIORAL      )
HEALTH
HEALTH SERVICES
             SERVICES                             )        Division:
                                                           Division: ______
Serve: Registered
Serve:                Agent
        Registered Agent                          )
Justus,
Justus, Jolie
        Jolie L.
               L.                                 )
2301   Holmes
2301 Holmes StreetStreet                          )
Kansas
Kansas City,
         City, MO
                MO 64108
                      64108                       )
                                                  )
                                                    ese




                            Defendant.
                            Defendant.            )

                                   PETITION
                                   PETITION FOR
                                            FOR DAMAGES
                                                DAMAGES

        COMES NOW Plaintiff
        COMES NOW Plaintiff Stacie
                            Stacie McCall, by and
                                   McCall, by and through
                                                  through her undersigned counsel,
                                                          her undersigned counsel, and
                                                                                   and for
                                                                                       for

her
her petition
    petition against
             against Defendant,
                     Defendant, Truman
                                Truman Medical
                                       Medical Center,
                                               Center, Inc.
                                                       Inc. d/b/a
                                                            d/b/a University
                                                                  University Health
                                                                             Health –
                                                                                    — Behavioral
                                                                                      Behavioral

Health
Health Services
       Services (hereinafter
                (hereinafter “Defendant”),
                             ““Defendant’’), states
                                             states and
                                                    and alleges
                                                        alleges as
                                                                as follows:
                                                                   follows:

                                         Overview
                                         Overview of
                                                  of Action
                                                     Action

      1.
      1.        The
                The actions
                    actions of
                            of Defendant
                               Defendant violated
                                         violated the
                                                  the Missouri
                                                      Missouri Human
                                                               Human Rights
                                                                     Rights Act,
                                                                            Act, RSMo.
                                                                                 RSMo. §§

213.010
213.010 et seq. (“MHRA”),
        et seq. (“MHRA”), in
                          in that
                             that Defendant
                                  Defendant discriminated
                                            discriminated against
                                                          against Plaintiff
                                                                  Plaintiff due
                                                                            due to
                                                                                to her
                                                                                   her disability
                                                                                       disability

and
and retaliated
    retaliated against
               against her
                       her when
                           when she
                                she reported
                                    reported the
                                             the same;
                                                 same; Missouri’s
                                                       Missouri’s Whistleblower
                                                                  Whistleblower Protection
                                                                                Protection Act,
                                                                                           Act,

RSMo.
RSMo. Chapter
      Chapter 285.575,
              285.575, and
                       and Retaliation
                           Retaliation Under
                                       Under the
                                             the False
                                                 False Claims
                                                       Claims Act,
                                                              Act, 31
                                                                   31 U.S.C.
                                                                      U.S.C. §§ 3730(h),
                                                                                3730(h), in
                                                                                         in that
                                                                                            that

Plaintiff
Plaintiff reported
          reported Medicaid
                   Medicaid fraud
                            fraud and
                                  and was
                                      was asked
                                          asked to
                                                to participate
                                                   participate in
                                                               in the
                                                                  the fraud
                                                                      fraud but
                                                                            but refused
                                                                                refused and
                                                                                        and was
                                                                                            was

retaliated
retaliated against
           against for
                   for her
                       her protected
                           protected activity.
                                     activity.


                                                 Parties
                                                 Parties

        2.
        2.      Plaintiff
                Plaintiff is
                          is an
                             an individual
                                individual who
                                           who was
                                               was an
                                                   an employee
                                                      employee of
                                                               of Defendant.
                                                                  Defendant.




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       3.
       3.      Defendant,
               Defendant, Truman
                          Truman Medical
                                 Medical Center
                                         Center d/b/a/
                                                d/b/a/ University
                                                       University Health
                                                                  Health –
                                                                         — Behavioral
                                                                           Behavioral Health
                                                                                      Health

Services
Services is
         is aa corporation
               corporation organized under the
                           organized under the laws
                                               laws of
                                                    of the
                                                       the State
                                                           State of
                                                                 of Missouri
                                                                    Missouri and
                                                                             and is
                                                                                 is registered
                                                                                    registered to
                                                                                               to do
                                                                                                  do

business
business in
         in the
            the State
                State of
                      of Missouri. At all
                         Missouri. At all relevant
                                          relevant times
                                                   times herein,
                                                         herein, Defendant
                                                                 Defendant had
                                                                           had ownership,
                                                                               ownership,

management,
management, and
            and operational
                operational control
                            control interest
                                    interest in
                                             in its
                                                its location
                                                    location at
                                                             at 300
                                                                300 W 19"th Terrace
                                                                    W 19    Terrace Kansas
                                                                                    Kansas City,
                                                                                           City,

MO
MO 64108.
   64108.

       4.
       4.      At
               At all
                  all times
                      times pertinent
                            pertinent to
                                      to this
                                         this Petition,
                                              Petition, Plaintiff
                                                        Plaintiff was
                                                                  was an
                                                                      an employee
                                                                         employee within
                                                                                  within the
                                                                                         the meaning
                                                                                             meaning

of
of the
   the MHRA.
       MHRA.

       5.
       5.      At
               At all
                  all times
                      times pertinent
                            pertinent to
                                      to this
                                         this Petition,
                                              Petition, Defendant
                                                        Defendant was
                                                                  was an
                                                                      an employer
                                                                         employer governed
                                                                                  governed by
                                                                                           by the
                                                                                              the

MHRA.
MHRA.

                                       Jurisdiction
                                       Jurisdiction and
                                                    and Venue
                                                        Venue

       6.
       6.      Defendant
               Defendant employed
                         employed Plaintiff
                                  Plaintiff at
                                            at its
                                               its location
                                                   location in
                                                            in Jackson
                                                                Jackson County,
                                                                        County, Missouri.
                                                                                Missouri.

       7.
       7.      Defendant
               Defendant engaged
                         engaged in
                                 in discriminatory
                                    discriminatory conduct
                                                   conduct in
                                                           in violation
                                                              violation of
                                                                        of the
                                                                           the MHRA
                                                                               MHRA in
                                                                                    in Jackson
                                                                                       Jackson

County,
County, Missouri.
        Missouri.

       8.
       8.      Plaintiff
               Plaintiff was
                         was first
                             first injured by Defendant’s
                                   injured by             unlawful conduct
                                              Defendant’s unlawful conduct in
                                                                           in Jackson
                                                                              Jackson County,
                                                                                      County,

Missouri.
Missouri.

       9.
       9.      This
               This Court
                    Court has
                          has personal jurisdiction over
                              personal jurisdiction over Defendant,
                                                         Defendant, pursuant
                                                                    pursuant to
                                                                             to Missouri
                                                                                Missouri Rule
                                                                                         Rule of
                                                                                              of

Civil
Civil Procedure
      Procedure 54.13(b)(3) because Defendant
                54.13(b)(3) because Defendant are
                                              are domestic
                                                  domestic corporations
                                                           corporations subject
                                                                        subject to
                                                                                to service
                                                                                   service of
                                                                                           of

process
process by
        by delivering
           delivering aa copy
                         copy of
                              of the
                                 the summons
                                     summons and
                                             and petition
                                                 petition to
                                                          to an
                                                             an officer,
                                                                officer, partner,
                                                                         partner, or
                                                                                  or managing
                                                                                     managing or
                                                                                              or

general
general agent,
        agent, or
               or by
                  by leaving
                     leaving the
                             the copies
                                 copies at
                                        at any
                                           any business
                                               business office
                                                        office of
                                                               of the
                                                                  the defendant
                                                                      defendant with
                                                                                with the
                                                                                     the person
                                                                                         person

having
having charge
       charge thereof.
              thereof.

       10.
       10.     This
               This Court
                    Court has
                          has personal jurisdiction over
                              personal jurisdiction over Defendant.
                                                         Defendant.

       11.
       11.     Venue
               Venue is
                     is proper
                        proper with
                               with this
                                    this Court
                                         Court pursuant
                                               pursuant to
                                                        to RSMo.
                                                           RSMo. §§ 508.010
                                                                    508.010 and
                                                                            and RSMo.
                                                                                RSMo. §§

213.111.
213.111.



                                                 2

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                                Exhaustion of Administrative Remedies

        12.     On or about November 20, 2023, Plaintiff filed a timely charge of disability

discrimination and retaliation against Defendant dually with the Missouri Commission on Human

Rights (“MCHR”) and the Equal Employment Opportunity Commission (“EEOC”). The Charge

of Discrimination is attached hereto and incorporated by reference as though fully set forth herein

as Exhibit A.

        13.     On or about May 3, 2024, Plaintiff filed a timely amended charge of discrimination

and retaliation against Defendant dually with the Missouri Commission on Human Rights

(“MCHR”) and the Equal Employment Opportunity Commission (“EEOC”). The Charge of

Discrimination is attached hereto and incorporated by reference as though fully set forth herein as

Exhibit B.

        14.     On or about February 11, 2025, Plaintiff was issued her Right to Sue from the

Missouri Commission on Human Rights (“MCHR”). The Right to Sue is attached hereto and

incorporated by reference as though fully set forth herein as Exhibit C.

        15.     This lawsuit was filed within two (2) years of Defendant’s unlawful conduct.

        16.     Plaintiff has met all deadlines and has satisfied all procedural, administrative, and

judicial prerequisites to filing suit.

                                         General Factual Allegations

        17.     Plaintiff is a disabled female.

        18.     Plaintiff began working for Defendant as a Licensed Mental Health Professional in

December of 2021.

        19.     Plaintiff remained employed in this position until her unlawful constructive

discharge on January 5, 2024. While employed with Defendant, Plaintiff worked under the



                                                    3

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Program
Program Director,
        Directo      Ti.               , Assistant
                                         Assistant Director,
                                                   Director, a.              , Team
                                                                               Team Leader
                                                                                    Leader


ee    , and Team Leader,                     .

                                FALSE
                                FALSE CLAIMS ACT RETALIATION
                                      CLAIMS ACT RETALIATION

       20.
       20.     In
               ‘In February
                   February 2023,
                            2023, one
                                  one of
                                      of Plaintiff’s
                                         Plaintiff's supervisors,
                                                     supervisors, directed
                                                                  directed Plaintiff
                                                                           Plaintiff to
                                                                                     to “back-date”
                                                                                        “back-date”

and bill Medicaid
and bill Medicaid for
                  for some
                      some of
                           of Plaintiff’s
                              Plaintiffs therapy
                                          therapy services
                                                  services for
                                                           for aa client
                                                                  client who
                                                                         who is
                                                                             is named
                                                                                named “Client
                                                                                      “Client 1”
                                                                                              1” for
                                                                                                 for

HIPAA purposes.
HIPAA purposes.

       21.
       21.     Under
               Under    Defendant’s program, aa client
                        Defendant’s program,    client is
                                                       is allowed
                                                          allowed aa certain
                                                                     certain amount
                                                                             amount of
                                                                                    of “free”
                                                                                       “free” therapy
                                                                                              therapy

services.
services.

       22.
       22.     Client
               Client 11 had been seeing
                         had been seeing Plaintiff
                                         Plaintiff for
                                                   for approximately
                                                       approximately four
                                                                     four (4)
                                                                          (4) months.
                                                                              months.

       23.
       23.     Plaintiff knew that
               Plaintiff knew that back-dating
                                   back-dating services
                                               services to
                                                        to charge
                                                           charge for
                                                                  for the
                                                                      the entirety
                                                                          entirety of
                                                                                   of those
                                                                                      those services
                                                                                            services

was
was fraud
    fraud against
          against the
                  the government
                      government and
                                 and refused
                                     refused to participate.
                                             to participate.

       24.
       24.     Plaintiff
               Plaintiff informed
                         informed three
                                  three supervisors
                                        supervisors     of
                                                        of the
                                                           the same.
                                                               same.

       25.
       25.     Later
               Later that
                     that month,
                          month, on
                                 on February
                                    February 16,
                                             16, 2023,
                                                 2023, there
                                                       there was
                                                             was an
                                                                 an all-staff
                                                                    all-staff meeting
                                                                              meeting that
                                                                                      that was
                                                                                           was sold
                                                                                               sold

to
to staff
   staff as
         as aa “safe”
               “safe” and
                      and “open”
                          “open” department
                                 department meeting
                                            meeting where
                                                    where they
                                                          they could
                                                               could air
                                                                     air their
                                                                         their grievances
                                                                               grievances in
                                                                                          in order
                                                                                             order

to
to move
   move forward
        forward in
                in our
                   our department’s
                       department’s goals
                                    goals and
                                          and vision.
                                              vision.

       26.
       26.     The
               The leadership
                   leadership told
                              told Plaintiff
                                   Plaintiff and
                                             and the
                                                 the rest
                                                     rest of
                                                          of the
                                                             the staff
                                                                 staff that
                                                                       that no
                                                                            no one
                                                                               one in
                                                                                   in management
                                                                                      management

would
would intervene
      intervene while
                while issues
                      issues were being discussed.
                             were being discussed.

       27.
       27. | However,
             However, as
                      as Plaintiff
                         Plaintiff was
                                   was talking,
                                       talking, Plaintiff’s
                                                Plaintiff's second-line
                                                            second-line supervisor
                                                                        supervisor interrupted
                                                                                   interrupted her
                                                                                               her

and began harassing
and began harassing her
                    her in
                        in front
                           front of
                                 of the
                                    the entire
                                        entire staff.
                                               staff.

       28.
       28.     Plaintiff
               Plaintiff asked
                         asked her
                               her to
                                   to stop,
                                      stop, and
                                            and Ms.
                                                Ms. |    | refused.
                                                           refused.

       29.
       29.        Plaintiff
                  Plaintiff was
                            was humiliated
                                humiliated she began tearing
                                           she began tearing up;
                                                             up; she
                                                                 she excused
                                                                     excused herself
                                                                             herself to
                                                                                     to use
                                                                                        use the
                                                                                            the

restroom
restroom and
         and compose
             compose herself.
                     herself.




                                                  4

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       30.     Plaintiff returned to the meeting; her second line supervisor said, with pointed

sarcasm: I’m sorry your feelings were hurt.”

       31.        Plaintiff requested a meeting with management in order to discuss her individual

concerns about her second line supervisor.

       32.     In this meeting, management conceded that Plaintiff’s second line supervisor had

acted inappropriately and aggressively.

       33.     On March 2, 2023, Plaintiff again reported to Defendant’s management that she

was being asked to commit Medicaid fraud by her second-line supervisor and that her second-line

supervisor   was retaliating against her for refusing.

       34.     Plaintiff also reported a previous incident where Plaintiff’s second-line supervisor

directed her to allow a student intern to “chart” under her name and credentials, which Plaintiff

also knew to be illegal.

       35.     On March 27, 2023, Plaintiff approached Defendant’s management about her

reports of fraud and retaliation.

       36.     Instead of answering her questions, Defendant’s management officer responded by

initiation an unwarranted critique Plaintiff’s job performance.

       37.     Plaintiff informed management that she had come to talk about the fraud and the

retaliation, and that she was not expecting criticism of her work.

       38.     Defendant possessed policies and practices that would apply to an authentic

performance review that were not followed.

       39.     Plaintiff’s job performance was more than adequate.

       40.     That same month, in March 2023, Plaintiff hot-lined the Medicaid fraud

information to the Defendant’s manager designed by policy to receive fraud reports.



                                                 5

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       41.     Plaintiff never received a response or any follow-up from this report.

       42.     In April 2023, Defendant’s management held a meeting with Plaintiff’s team

without Plaintiff’s second line supervisor.

       43.     At this meeting, Plaintiff witnessed many concerning reports of sexual harassment,

harassment/bullying, inappropriate statements, inappropriate touch, and lack of boundaries or

professionalism against her second-line supervisor.

       44.     Defendant’s management official lblew these complaints off and said: “Oh she

reminds me so much of me when I was young,” and later that month expressed her approval of the

second line supervisor and took the second-line supervisor on a vacation.

                  DISABILITY DISCRIMINATION AND RETALIATION

       45.     Plaintiff was professionally diagnosed with long-covid in September 2022, but she

had experienced symptoms since January 2022, when she first contracted COVID-19.

       46.     The condition had caused Plaintiff to have difficulty breathing, particularly in

warm environments, and in the sun; the breathing issue was significant enough that it would

prevent her from walking long distances.

       47.     Plaintiff’s breathing issue did not interfere with her ability to fulfill her job duties,

and she was able to perform all of her essential functions at a high level.

       48.     But then one day, Defendant’s management decided to hold a team retreat outside

at Loose Park in July of 2023

       49.     When Plaintiff received the invitation to Loose Park in May 2023, she immediately

informed her supervisor    that due to her medical diagnosis, she could not attend.

       50.     The supervisor told Plaintiff she was not excused and that “there is shade.”




                                                  6

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          51.    On June 30, 2023, Plaintiff reached out to Human Resources because she feared

she would face retaliation for reporting her disability and not attending the July 2023 outside event.

          52.    Defendant’s Human Resources        asked Plaintiff to fill out an accommodation form,

which she did.

          53.    Plaintiff did not hear back from my accommodation request before the outdoor

meeting occurred.

          54.    Plaintiff missed the outside retreat due to her health concerns.

          55.    On July 28, 2023, Plaintiff received a call from                    in Occupational

Health who informed Plaintiff that her request was only conditionally approved until she could

provide a 30-day, daily log of when she was asked to work outside in 80 and over degree weather

for more than 90 minutes.

          56.    Plaintiff’s request was amended and agreed upon by the Program Director for the

following: “The accommodation needed was to attend the all-day outside staff retreat remotely on

July 5 (sic), 2023, due to the hot temperatures outdoors. No further accommodation is needed at

this time. Moving forward, if any accommodation is needed, we will request this on a situational

basis.”

          57.    In June 2023, Plaintiff received a performance evaluation from her supervisor that

concluded she “met expectations,” yet contained scathing, unfounded criticism of her work.

          58.    In Plaintiff’s response to that review, she reported discrimination based on her

disability;       that her report of illegal activity   was wholly ignored, never investigated, and

disregarded.

          59.    Plaintiff’s review stated:




                                                   7

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       60.
       60.     Plaintiff
               Plaintiff also
                         also reported
                              reported comments
                                       comments from
                                                from other
                                                     other therapists
                                                           therapists such
                                                                      such as
                                                                           as “people
                                                                              “people are
                                                                                      are gay
                                                                                          gay

because of
because of the
           the hormones
               hormones they put in
                        they put in cows”,
                                    cows’, “some
                                           “some kids just need
                                                 kids just need aa good
                                                                   good beating
                                                                        beating to
                                                                                to understand
                                                                                   understand

what
what they
     they need
          need to
               to do”,
                  do”, and
                       and “being
                           “being trans
                                  trans is just aa fad.”
                                        is just    fad.”

       61.
       61.     Because
               Because of
                       of the
                          the retaliatory
                              retaliatory performance
                                          performance review,
                                                      review, Plaintiff
                                                              Plaintiff asked
                                                                        asked for
                                                                              for aa meeting
                                                                                     meeting to
                                                                                             to

discuss
discuss her
        her concerns.
            concerns.

       62.
       62.     On August 4,
               On August 4, 2023,
                            2023, aa meeting
                                     meeting was
                                             was held
                                                 held with
                                                      with Plaintiff,
                                                           Plaintiff, and
                                                                      and two
                                                                          two members
                                                                              members of
                                                                                      of

management.
management.

       63.
       63.     Ms.
               Ms. BE          insultingly
                               insuttingly told
                                           told Plaintiff
                                                Plaintiff that
                                                          that she
                                                               she “had
                                                                   “had to
                                                                        to pray”
                                                                           pray” before
                                                                                 before their
                                                                                        their meeting,
                                                                                              meeting,

indicating
indicating she
           she was
               was nervous
                   nervous about
                           about her
                                 her meeting
                                     meeting with
                                             with Plaintiff.
                                                  Plaintiff.

       64.
       64.     At the
               At the end
                      end of
                          of the
                             the meeting,
                                 meeting, Ms.
                                          Ms i             requested
                                                           requested that
                                                                     that Plaintiff
                                                                          Plaintiff let
                                                                                    let her
                                                                                        her co-workers
                                                                                            co-workers

know they
know they had
          had aa conversation; because “whether
                 conversation; because “whether you
                                                you like
                                                    like it
                                                         it or
                                                            or not,
                                                               not, your
                                                                    your peers
                                                                         peers see
                                                                               see you
                                                                                   you as
                                                                                       as aa leader”
                                                                                             leader”

and
and “they
    “they will
          will follow you.”
               follow you.”

       65.
       65.     On November 8,
               On November 8, 2023,
                              2023, Plaintiff
                                    Plaintiff was
                                              was written
                                                  written up
                                                          up for
                                                             for using
                                                                 using an
                                                                       an “inappropriate tone ””
                                                                          “inappropriate tone

when
when she
     she confessed
         confessed feeling
                   feeling demoralized by the
                           demoralized by the lack
                                              lack of
                                                   of resources
                                                      resources to
                                                                to help
                                                                   help patients,
                                                                        patients, even
                                                                                  even though
                                                                                       though they
                                                                                              they

had
had reported
    reported on
             on surveys
                surveys many
                        many times
                             times the
                                   the need
                                       need for
                                            for more
                                                more resources..
                                                     resources..

       66.
       66.     Following
               Following this
                         this passing
                              passing comment,
                                      comment, Defendant
                                               Defendant _ initiated
                                                           initiated an
                                                                     an investigation
                                                                        investigation against
                                                                                      against

Plaintiff
Plaintiff and
          and pressured
              pressured her
                        her coworkers
                            coworkers to
                                      to write
                                         write statements
                                               statements about
                                                          about her
                                                                her comment
                                                                    comment        .




                                                  8

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          67.   This “investigation” was a sham because it did not warrant any investigation, did

not follow any policy, sought to intimidate witnesses and discourage reporting from other

employees.

          68.   On January 5, 2024 Plaintiff could no longer bear the intolerable working

conditions caused by her supervisor’s obvious intent to force her to quit in retaliation for refusing

to commit fraud, reporting the fraud, pushing back against the Defendant’s decision to target her

disability, and finally her supervisor’s decision to concoct a a story to justify a sham investigation

intent only to isolate her from her coworkers and undermine her ability to take care of patients; at

that point, Defendant constructively discharged her.

                                        COUNT I
    Disability Discrimination Based Including a Hostile Work Environment in Violation of
                              the Missouri Human Rights Act

          69.   Plaintiff incorporates all paragraphs and allegations of this Petition as if set forth

herein.

          70.   Plaintiff was qualified to perform her job.

          71.   Plaintiff has a physical impairment which substantially limits one or more of her

major life activities.

          72.   Plaintiff is regarded as having such an impairment and has a record of having such

an impairment.

          73.   Plaintiff, with or without reasonable accommodation, could perform her job.

          74.   Defendant’ did not make an attempt to reasonably accommodate Plaintiff, violating

the MHRA.

          75.   Plaintiff’s disability was a motivating factor in Defendant’s negative treatment of

Plaintiff.



                                                  9

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       76.     Plaintiff’s disability actually played a role in and had a determinative influence on

the discrimination, including her termination.

       77.     Plaintiff previously experienced, and reported, disability discrimination during her

employment tenure with Defendant.

       78.     Management was aware of this discrimination, saw it and/or participated in it, but

did nothing to eradicate it.

       79.     The discrimination perpetrated against Plaintiff affected a term, condition, or

privilege of Plaintiff’s employment and/or was sufficiently severe or pervasive to alter or affect

the conditions of Plaintiff’s employment.

       80.     Defendant failed to take appropriate and prompt remedial action in response to

incidents of and complaints of disability discrimination and harassment.

       81.     As a direct and proximate result of Defendant’ discriminatory actions, Plaintiff

sustained damages in the form of lost wages, loss of earning capacity, loss of career opportunity,

pain and suffering, loss of enjoyment of life, humiliation, emotional distress, and damage to her

reputation in an amount yet to be determined.

       82.     Plaintiff respectfully requests that this Court enter judgment against Defendant for

actual damages, special damages, attorneys’ fees recoverable by statute, costs, and all such further

relief the Court deems just and equitable. Plaintiffs reserve the right to assert a claim for punitive

damages based on the outrageous, malicious, and reckless conduct alleged, as permitted by RSMo.

§ 510.261.

       83.     As a direct and proximate result of Defendant’s discriminatory actions, Plaintiff

sustained damages in the following respects including, but not limited to, lost wages, loss of




                                                 10

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earning capacity, loss of career opportunity, pain and suffering, loss of enjoyment of life,

humiliation, emotional distress, and damage to her reputation in an amount yet to be determined.

       84.     Plaintiff respectfully requests that this Court enter judgment against Defendant for

actual damages, compensatory damages, punitive damages, and attorneys’ fees recoverable by

statute, costs, and all such further relief the Court deems just and equitable.

       85.     Defendant’s conduct was outrageous because of Defendant’s evil motive or

reckless indifference to the rights of Plaintiff, thereby entitling Plaintiff to punitive damages in an

amount that will punish Defendant and deter Defendant and others from like conduct.

       86.     Any cap or limitation on Plaintiff’s damages that may be imposed by RSMO §

213.111.4 (2017) is unconstitutional in that it violates Plaintiff’s right to trial by jury, MO. CONST.

art. I, § 22(a); separation of powers, MO. CONST. art. II, § 1; the right to equal protection, MO.

CONST. art. I, § 2; the prohibition on special legislation, MO. CONST. art. III, § 40; and the right to

due process. MO. CONST. art. I. § 10.

       87.     Any cap or limitation on punitive damages is unconstitutional in that it violates

Plaintiff’s right to trial by jury, MO. CONST. art. I, § 22(a); separation of powers, MO. CONST. art.

II, § 1; the right to equal protection, MO. CONST. art. I, § 2; the prohibition on special legislation,

MO. CONST. art. III, § 40; and the right to due process. MO. CONST. art. I. § 10.

       WHEREFORE Plaintiff requests that this Court enter judgment in Plaintiff’s favor and

against Defendant, finding that Plaintiff is the prevailing party, awarding Plaintiff damages as

proven at trial, including front pay, back pay, and other actual damages, attorneys’ fees and related

litigation and enforcement costs and expenses, punitive damages and granting Plaintiff such other

and further relief as the Court deems just and proper.

                                          Count II
                 Retaliation Under the False Claims Act, 31 U.S.C. § 3730(h)

                                                  11

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                                                                                                         Electronically Filed - JACKSON - KANSAS CITY - February 17, 2025 - 03:18 PM
        88.     Plaintiff incorporates by reference all paragraphs and allegations in this Peitions as

though fully set forth herein.

        89.     Plaintiff engaged in protected activity by reporting and lawfully trying to stop one

or more violations of Medicaid Fraud, including unlawful billing by Defendants to Medicaid for

services that were not covered, which violated the False Claims Act.

        90.     Whether or not any actual Medicaid Fraud, violation occurred, Plaintiff reasonably

and in good faith believed that the conduct described above constituted unlawful billing practices

in violation of the Medicaid Fraud. She reported and responded to the apparent violations

accordingly, including by going outside her normal chain of command to make specific warnings

of violations of the False Claims Act.

        91.     As alleged above, Defendants knew of Plaintiff’s protected activity, including her

continuous efforts to stop what appeared to be—and what she reasonably and in good faith

believed to be—ongoing violations of the Medicaid Fraud.

        92.     As alleged above, Defendants retaliated against Plaintiff because of her protected

activity in trying to stop ongoing violations of the Medicaid Fraud, by subjecting her to a hostile

work environment and taking a series of escalating and unwarranted adverse employment actions

against her, including unwarranted investigations and eventual constructive discharge—all with

pretextual justification or without any justification at all.

        93.     As a direct result of Defendants’ retaliatory conduct, Plaintiff has sustained

compensatory and noncompensatory damages, including without limitation lost pay and benefits

and emotional distress.




                                                   12

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                                             COUNT IH
                                             COUNT III
                      Retaliation
                      Retaliation in Violation of
                                  in Violation of the
                                                  the Missouri
                                                      Missouri Human
                                                               Human Rights Act
                                                                     Rights Act

          94.
          94.    Plaintiff
                 Plaintiff incorporates
                           incorporates all
                                        all paragraphs
                                            paragraphs and
                                                       and allegations
                                                           allegations of
                                                                       of this
                                                                          this Petition
                                                                               Petition as
                                                                                        as if
                                                                                           if set
                                                                                              set forth
                                                                                                  forth

herein.
herein.

          95.
          95.    During
                 During her
                        her employment,
                            employment, Plaintiff
                                        Plaintiff complained
                                                  complained to
                                                             to Defendant,
                                                                Defendant, objected
                                                                           objected to
                                                                                    to and/or
                                                                                       and/or

opposed
opposed the
        the harassment
            harassment and/or
                       and/or discrimination
                              discrimination by,
                                             by, among
                                                 among other
                                                       other things,
                                                             things, complaining
                                                                     complaining of
                                                                                 of

discrimination.
discrimination.

          96.
          96.    Plaintiff’s
                 Plaintiff's complaints
                             complaints to
                                        to Defendant
                                           Defendant about
                                                     about discrimination
                                                           discrimination are protected activities
                                                                          are protected activities

under
under the
      the MHRA.
          MHRA.

          97.
          97.    Plaintiff’s
                 Plaintiff's complaints
                             complaints of
                                        of discrimination
                                           discrimination motivated
                                                          motivated Defendant’s
                                                                    Defendant’s actions,
                                                                                actions, inactions,
                                                                                         inactions,

decisions,
decisions, and/or
           and/or conduct
                  conduct that
                          that affected
                               affected the
                                        the terms,
                                            terms, conditions,
                                                   conditions, and
                                                               and privileges
                                                                   privileges of
                                                                              of Plaintiff’s
                                                                                 Plaintiffs

employment
employment as
           as alleged
              alleged herein.
                      herein.

          98.
          98. | Defendant’s
                Defendant’s actions
                            actions and/or
                                    and/or inactions
                                           inactions constitute unlawful retaliation
                                                     constitute unlawful retaliation against
                                                                                     against Plaintiff
                                                                                             Plaintiff

in
in violation
   violation of
             of the
                the MHRA.
                    MHRA.

          99.
          99.    Defendant
                 Defendant retaliated
                           retaliated against
                                      against Plaintiff
                                              Plaintiff by
                                                        by subjecting
                                                           subjecting her
                                                                      her to
                                                                          to different
                                                                             different forms
                                                                                       forms of
                                                                                             of

harassment
harassment and
           and terminating
               terminating her
                           her employment.
                               employment.

          100.
          100.   Plaintiff
                 Plaintiff suffered
                           suffered adverse
                                    adverse action
                                            action in
                                                   in the
                                                      the form
                                                          form of
                                                               of retaliatory
                                                                  retaliatory harassment
                                                                              harassment and
                                                                                         and eventual
                                                                                             eventual

termination
termination of
            of her
               her employment
                   employment as
                              as aa result
                                    result of
                                           of her protected activity.
                                              her protected activity.

          101.
          101.   Defendant
                 Defendant took
                           took no
                                no remedial
                                   remedial action
                                            action in
                                                   in response
                                                      response to
                                                               to Plaintiff’s
                                                                  Plaintiff's complaints.
                                                                              complaints.

          102.
          102.   Defendant’s
                 Defendant’s retaliation
                             retaliation toward
                                         toward Plaintiff
                                                Plaintiff was
                                                          was because
                                                              because Plaintiff
                                                                      Plaintiff reported
                                                                                reported and
                                                                                         and opposed
                                                                                             opposed

the
the discrimination.
    discrimination.

          103.
          103.   Defendant’s
                 Defendant’s conduct
                             conduct constitutes
                                     constitutes retaliation
                                                 retaliation against
                                                             against Plaintiff
                                                                     Plaintiff in
                                                                               in reckless
                                                                                  reckless disregard
                                                                                           disregard of
                                                                                                     of

Plaintiff’s
Plaintiff's known
            known rights.
                  rights.




                                                  13
                                                  13

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        104.    Defendant’s actions as set forth above constitute a pattern and practice of retaliation

in violation of the MHRA.

        105.    Defendant’s actions and/or inactions occurred by and/or through its agents,

servants, and/or employees acting within the course and scope of their employment.

        106.    As a direct and proximate result of Defendant’s discriminatory actions, Plaintiff

sustained damages in the following respects including, but not limited to, lost wages, loss of

earning capacity, loss of career opportunity, pain and suffering, loss of enjoyment of life,

humiliation, emotional distress, and damage to her reputation in an amount yet to be determined.

        107.    Plaintiff respectfully requests that this Court enter judgment against Defendant for

actual damages, compensatory damages, punitive damages, and attorneys’ fees recoverable by

statute, costs, and all such further relief the Court deems just and equitable.

        108.    Plaintiff was damaged by the discrimination and harassment and is entitled to all

remedies available to her as provided in the Missouri Human Rights Act, including but not limited

to damages for loss of income, embarrassment, humiliation, emotional distress, damage to her

reputation, diminution in earnings capacity, and other damages as yet undetermined, and Plaintiff

is reasonably expected to suffer from such damages in the future.

        109.    Defendant’s conduct was outrageous because of Defendant’s evil motive or

reckless indifference to the rights of Plaintiff, thereby entitling Plaintiff to punitive damages in an

amount that will punish Defendant and deter Defendant and others from like conduct.

        110.    Any cap or limitation on Plaintiff’s damages that may be imposed by RSMO §

213.111.4 (2017) is unconstitutional in that it violates Plaintiff’s right to trial by jury, Mo. Const.

art. I, § 22(a); separation of powers, Mo. Const, art. II, § 1; the right to equal protection, Mo. Const,




                                                   14

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art. I, § 2; the prohibition on special legislation, Mo. Const, art. III, § 40; and the right to due

process. Mo. Const. art. I. § 10.

          111.   Any cap or limitation on punitive damages is unconstitutional in that it violates

Plaintiff’s right to trial by jury, Mo. Const. art. I, § 22(a); separation of powers, Mo. Const, art. II,

§ 1; the right to equal protection, Mo. Const, art. I, § 2; the prohibition on special legislation, Mo.

Const, art. III, § 40; and the right to due process. Mo. Const. art. I. § 10.

          WHEREFORE, Plaintiff requests that this Court enter judgment in Plaintiff’s favor and

against Defendant, finding that Plaintiff is the prevailing party, awarding Plaintiff damages as

proven at trial, including front pay, back pay, and other actual damages, attorneys’ fees and related

litigation and enforcement expenses, punitive damages and granting Plaintiff such other and

further relief as the Court deems just and proper.

                                           COUNT IV
          Violation of the Missouri’s Whistleblower Protection Act, RSMo Chapter 285.575

          112.   Plaintiff incorporates all paragraphs and allegations of this Petition as if set forth

herein.

          113.   At all times         and               were employees and agents of Defendants and

were acting within the scope of their employer and/or agency, and Defendants are responsible for

the action of         and            .

          114.   Plaintiff is a protected person within the meaning of RSMo § 285.575, in that

Plaintiff reported activity to       and             , which she believed was violation of state and/or

federal law.

          115.   Plaintiff’s protected classification actually played a role in her discharge from

employment with Defendant and had a determinative influence on her discharge from employment

with Defendant.

                                                   15

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        116.
        116.    As
                Asa a direct
                      direct and proximate result,
                             and proximate result, Plaintiff
                                                   Plaintiff has
                                                             has suffered
                                                                 suffered actual
                                                                          actual damages
                                                                                 damages in
                                                                                         in the
                                                                                            the form
                                                                                                form

of
of lost
   lost back
        back wages,
             wages, consisting
                    consisting of
                               of lost
                                  lost salary,
                                       salary, lost
                                               lost benefits
                                                    benefits and
                                                             and lost
                                                                 lost pension
                                                                      pension benefits.
                                                                              benefits.

        117.
        117.    In
                In addition,
                   addition, Plaintiff
                             Plaintiff is
                                       is entitled
                                          entitled to
                                                   to recover
                                                      recover her
                                                              her costs
                                                                  costs and
                                                                        and attorneys’
                                                                            attorneys’ fees
                                                                                       fees pursuant
                                                                                            pursuant to
                                                                                                     to

RSMo. §§ 285.575.8.
RSMo.    285.575.8.



                                             COUNT
                                             COUNT V V
                                        Liquidated
                                        Liquidated Damages
                                                   Damages


        118.
        118.    The
                The conduct
                    conduct of
                            of Defendant,
                               Defendant, through
                                          through its
                                                  its agents
                                                      agents Hoard
                                                             Hoard and
                                                                   and Sturdivant
                                                                       Sturdivant were
                                                                                  were

outrageous
outrageous because
           because of
                   of Defendant’s
                      Defendant’s evil
                                  evil motive
                                       motive and
                                              and reckless
                                                  reckless indifference
                                                           indifference to
                                                                        to the
                                                                           the rights
                                                                               rights of
                                                                                      of Plaintiff
                                                                                         Plaintiff

and
and others.
    others.

        119.
        119.    Plaintiff
                Plaintiff is
                          is entitled
                             entitled to
                                      to double
                                         double damages
                                                damages awarded
                                                        awarded with
                                                                with regards
                                                                     regards to
                                                                             to back
                                                                                back pay,
                                                                                     pay, including
                                                                                          including

lost
lost salary,
     salary, lost
             lost benefits,
                  benefits, and
                            and lost pension benefits.
                                lost pension benefits.

        120.
        120.    In
                In addition,
                   addition, Plaintiff
                             Plaintiff is
                                       is entitled
                                          entitled to
                                                   to recover
                                                      recover her
                                                              her costs
                                                                  costs and
                                                                        and attorneys’
                                                                            attorneys’ fees
                                                                                       fees pursuant
                                                                                            pursuant to
                                                                                                     to

RSMo.
RSMo. §§ 285.575.8.
         285.575.8.

        WHEREFORE,
        WHEREFORE, Plaintiff
                   Plaintiff requests
                             requests that
                                      that this
                                           this Court
                                                Court enter judgment in
                                                      enter judgment in Plaintiff’s
                                                                        Plaintiff's favor
                                                                                    favor and
                                                                                          and

against
against Defendant,
        Defendant, finding
                   finding that
                           that Plaintiff
                                Plaintiff is
                                          is the prevailing party,
                                             the prevailing party, awarding
                                                                   awarding Plaintiff
                                                                            Plaintiff damages
                                                                                      damages as
                                                                                              as

proven
proven at
       at trial,
          trial, including
                 including front
                           front pay,
                                 pay, back
                                      back pay,
                                           pay, and
                                                and other
                                                    other actual
                                                          actual damages,
                                                                 damages, attorneys’
                                                                          attorneys’ fees
                                                                                     fees and
                                                                                          and related
                                                                                              related

litigation
litigation and
           and enforcement
               enforcement expenses, punitive damages
                           expenses, punitive damages and
                                                      and granting
                                                          granting Plaintiff
                                                                   Plaintiff such
                                                                             such other
                                                                                  other and
                                                                                        and

further
further relief
        relief as just and
               as just     proper.
                       and proper.




                                                         BROWN,
                                                         BROWN, CURRY
                                                                CURRY &
                                                                      & DUGGAN,
                                                                        DUGGAN, LLC
                                                                                LLC

                                                         _______________________
                                                         Sarah J.
                                                         Sarah  J. Duggan
                                                                   Duggan #73687
                                                                           #73687
                                                         Dan
                                                         Dan Curry
                                                              Curry #58264
                                                                     #58264
                                                         1600
                                                         1600 Genessee
                                                               Genessee STE
                                                                         STE 956
                                                                               956

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                                                   16

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                                     Kansas
                                     Kansas City,
                                             City, Missouri
                                                   Missouri 64101
                                                            64101
                                     Ph:
                                     Ph: 816-756-5458
                                         816-756-5458
                                     sduggan@brownandcurry.com




                                                                          - NOSMOVE
                                     sduggan@brownandcurry.com
                                     dan@brownandcurry.com
                                     dan@brownandcurry.com




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                                17

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                                                                         2516-CV04651
                                                                         2516-CV04651

           IN
           IN THE
              THE CIRCUIT
                  CIRCUIT COURT
                          COURT OF
                                 OF JACKSON
                                    JACKSON COUNTY,
                                             COUNTY, MISSOURI
                                                     MISSOURI
                             AT
                             AT KANSAS
                                KANSAS CITY
                                        CITY

                                        ))
STACIE
STACIE MCCALL,
       MCCALL,                          ))
                   Plaintiff,
                   Plaintiff,           ))
                                        ))
v.
Vv.                                     ))   Case No: ______
                                             Case No:
TRUMAN
TRUMAN MEDICAL
         MEDICAL CENTER,
                  CENTER, INC.
                            INC. D/B/A
                                 D/B/A) )
UNIVERSITY
UNIVERSITY HEALTH - BEHAVIORAL _ ))_ _
            HEALTH   - BEHAVIORAL            Division:
                                             Division: ______
HEALTH
HEALTH SERVICES
        SERVICES                       ))
                                       ))
                                       ))
                                       ))
                                       ))
                                       ))
                 Defendant.
                 Defendant.            )
                                       )

               DESIGNATION
               DESIGNATION OF
                           OF LEAD
                              LEAD ATTORNEY
                                   ATTORNEY OF
                                            OF RECORD
                                               RECORD
       Pursuant
       Pursuant to
                to Local
                   Local Rules
                         Rules 3.5.1
                               3.5.1 and
                                     and 3.5.2,
                                         3.5.2, Sarah
                                                Sarah Duggan
                                                      Duggan of
                                                             of the
                                                                the law
                                                                    law firm
                                                                        firm of
                                                                             of

Brown,
Brown, Curry
       Curry &
             & Duggan,
               Duggan, LLC
                       LLC hereby
                           hereby gives
                                  gives notice
                                        notice to
                                               to the
                                                  the Court,
                                                      Court, the
                                                             the parties,
                                                                 parties, and
                                                                          and all
                                                                              all

counsel
counsel of
        of record
           record that
                  that he
                       he will
                          will serve
                               serve as
                                     as lead
                                        lead counsel
                                             counsel on behalf of
                                                     on behalf of Plaintiff
                                                                  Plaintiff in
                                                                            in the
                                                                               the

above-captioned
above-captioned case.
                case. Contact
                      Contact information
                              information is
                                          is as
                                             as follows.
                                                follows.

       Sarah
       Sarah Duggan,
              Duggan, Brown,
                       Brown, Curry
                                Curry &
                                      & Duggan,
                                        Duggan, LLC
                                                LLC
       1600
       1600 Genessee,
             Genessee, Ste
                        Ste 956
                            956
       Kansas  City, MO   64102
       Kansas City, MO 64102
       T:
       T: (816)756-5458
          (816)756-5458
       F:
       F: (816)666-9596
          (816)666-9596
       sduggan@brownandcurry.com
       sduggan@brownandcurry.com

                                             Respectfully
                                             Respectfully submitted,
                                                          submitted,


                                             ____________________
                                             Sarah J.
                                             Sarah   J. Duggan
                                                         Duggan #73687
                                                                   #73687
                                             1600
                                             1600 Genessee
                                                    Genessee St.,St., Ste.
                                                                       Ste. 956
                                                                            956
                                             Kansas
                                             Kansas City,
                                                        City, MO
                                                               MO 64102
                                                                     64102
                                             Tele:
                                             Tele: (816)
                                                    (816) 756-5458
                                                             756-5458
                                             Fax:
                                             Fax: (816_
                                                   (816 666-9596
                                                             666-9596
                                             sduggan@brownandcurry.com
                                             sduggan@brownandcurry.com



      Case 4:25-cv-00218-WBG    Document 1-1      Filed 03/28/25       Page 21 of 48
                                                                                                                   Electronically Filed - JACKSON - KANSAS CITY - February 17, 2025 - 03:18 PM
                                                                                                                   - Palla Ajeotuos99/5
                                                           ATTORNEY
                                                           ATTORNEY FOR
                                                                    FOR PLAINTIFF
                                                                        PLAINTIFF




                                                                                                                  - NOSMOVE
                                                                                                                  Wd 8T:€0 - SZOzg ‘ZT Areniqas - ALID SVSNV™
                                    CERTIFICATE
                                    CERTIFICATE OF
                                                OF SERVICE
                                                   SERVICE

         II hereby
            hereby certify
                     certify that
                              that on
                                   on February
                                       February 17,
                                                  17, 2025,
                                                       2025, the
                                                              the foregoing
                                                                   foregoing document
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Notice of
Notice   of Electronic
              Electronic Filing    to all
                           Filing to  all counsel
                                          counsel ofof record.
                                                       record.

                                                   /s/ Sarah
                                                   /s/ Sarah J.
                                                             J. Duggan
                                                                Duggan
                                                   ATTORNEY
                                                   ATTORNEY FOR   FOR PLAINTIFFS
                                                                       PLAINTIFFS




      Case 4:25-cv-00218-WBG               Document 1-1          Filed 03/28/25        Page 22 of 48
                                                                                                               Electronically Filed - JACKSON - KANSAS CITY - February 17, 2025 - 03:18 PM
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                                                                             2516-CV04651
                                                                             2516-CV04651

             IN
             IN THE
                THE CIRCUIT
                    CIRCUIT COURT
                            COURT OF
                                   OF JACKSON
                                      JACKSON COUNTY,
                                               COUNTY, MISSOURI
                                                       MISSOURI
                               AT
                               AT KANSAS
                                  KANSAS CITY
                                          CITY

                                                )




                                                (‘SS
STACIE
STACIE MCCALL,
       MCCALL,                                  )
                          Plaintiff,
                          Plaintiff,            )
                                                )




                                                /_
v.
Vv.                                             )      Case No: ______
                                                       Case No:




                                                1“
                                                )




                                                —S—
TRUMAN      MEDICAL        CENTER,
 TRUMAN MEDICAL CENTER, INC. D/B/A)   INC. D/B/A)
UNIVERSITY HEALTH
UNIVERSITY       HEALTH -- BEHAVIORAL
                                 BEHAVIORAL _ ))       Division:
                                                       Division: ______
HEALTH
HEALTH SERVICES
           SERVICES                             ))
                                                ))
Serve: Registered
Serve:               Agent
       Registered Agent                         ))
       Justus,
       Justus, Jolie.
                Jolie. L
                       L                        ))
       2301
       2301 Holmes
              Holmes Street
                         Street                 ))
       Kansas    City, MO
       Kansas City, MO 64108  64108             ))
                                                ))
                          Defendant.
                          Defendant.            ))

                                  REQUEST
                                  REQUEST FOR
                                          FOR SUMMONS
                                              SUMMONS


       COMES NOW Plaintiff,
       COMES NOW Plaintiff, and
                            and requests
                                requests this
                                         this Court
                                              Court to
                                                    to issue
                                                       issue aa Summons
                                                                Summons for
                                                                        for

service
service upon
        upon Defendant
             Defendant Truman
                       Truman Medical
                              Medical Center,
                                      Center, Inc.
                                              Inc. d/b/a
                                                   d/b/a University
                                                         University Health
                                                                    Health —–

Behavioral
Behavioral Health
           Health Services.
                  Services.

       Plaintiff
       Plaintiff requests
                 requests that
                          that that
                               that the
                                    the Circuit
                                        Circuit Court
                                                Court of
                                                      of Jackson
                                                          Jackson County,
                                                                  County, Missouri
                                                                          Missouri

issue
issue aa Summons
         Summons to
                 to Defendant
                    Defendant Truman
                              Truman Medical
                                     Medical Center,
                                             Center, Inc.
                                                     Inc. d/b/a
                                                          d/b/a University
                                                                University

Health
Health —– Behavioral
          Behavioral Health
                     Health Services
                            Services at:
                                     at: Registered
                                         Registered Agent
                                                    Agent Jolie
                                                          Jolie L.
                                                                L. Justus,
                                                                   Justus, 2301
                                                                           2301

Holmes
Holmes Street,
       Street, Kansas
               Kansas City,
                      City, MO
                            MO 64108.
                               64108.

       Service will be
       Service will be made by via
                       made by     private process
                               via private process server.
                                                   server. Plaintiff’s
                                                           Plaintiff's Petition
                                                                       Petition was
                                                                                was

filed
filed February
      February 17,
               17, 2025.
                   2025. Personal
                         Personal service
                                  service has
                                          has not been obtained
                                              not been obtained at
                                                                at this
                                                                   this time.
                                                                        time.

                                                       Respectfully
                                                       Respectfully submitted,
                                                                    submitted,




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                                                                                                                                     Electronically Filed - JACKSON - KANSAS CITY - February 17, 2025 - 03:18 PM
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                                                             eas
                                                           ____________________
                                                           Sarah
                                                                  (
                                                           Sarah J.J. Duggan
                                                                      Duggan #73687
                                                                                #73687
                                                           1600
                                                           1600 Genessee
                                                                 Genessee St.,St., Ste.
                                                                                    Ste. 956
                                                                                         956
                                                           Kansas
                                                           Kansas City,
                                                                     City, MO
                                                                            MO 64102
                                                                                  64102
                                                           Tele:
                                                           Tele: (816)
                                                                  (816) 756-5458
                                                                          756-5458
                                                           Fax:
                                                           Fax: (816_
                                                                 (816 666-9596
                                                                          666-9596
                                                           sduggan@brownandcurry.com
                                                           sduggan@brownandcurry.com

                                                           ATTORNEY FOR
                                                           ATTORNEY FOR PLAINTIFF
                                                                        PLAINTIFF




                                    CERTIFICATE
                                    CERTIFICATE OF
                                                OF SERVICE
                                                   SERVICE

         II hereby
            hereby certify
                     certify that
                              that on
                                   on February
                                       February 17,
                                                  17, 2025,
                                                       2025, the
                                                              the foregoing
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Notice of
Notice   of Electronic
              Electronic Filing
                           Filing to
                                   to all
                                      all counsel
                                          counsel ofof record.
                                                       record.

                                                   /s/
                                                   /s/ Sarah
                                                       Sarah J.
                                                             J. Duggan
                                                                Duggan
                                                   ATTORNEY FOR
                                                   ATTORNEY       FOR PLAINTIFFS
                                                                       PLAINTIFFS




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                                                                                                                                               Electronically Filed - JACKSON - KANSAS CITY - February 17, 2025 - 03:18 PM
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                                                                                                 2516-CV04651
                                                                                                 2516-CV04651

                                  IN
                                  IN THE
                                     THE CIRCUIT
                                         CIRCUIT COURT
                                                 COURT OFOF JACKSON
                                                            JACKSON COUNTY
                                                                     COUNTY
                                           AT
                                           AT KANSAS
                                              KANSAS CITY,
                                                      CITY, MISSOURI
                                                            MISSOURI

Stacie
Stacie McCall
       McCall                        ))
         Plaintiff/Petitioner,
         Plaintiff/Petitioner,       ))
VS.
VS.                                  ))                 Case
                                                        Case No.:
                                                             No.:
                                     ))
Truman   Medical  Center, Inc. d/b/a
Truman Medical Center, Inc. d/b/a_)  )
University
University Health
            Health –
                   - Behavioral
                     Behavioral      ))                 Division
                                                        Division No.:
                                                                 No.:
Health
Health Services
        Services
          Defendant/Respondent.
          Defendant/Respondent. _ ))

                           MOTION
                           MOTION FOR FOR APPOINTMENT
                                           APPOINTMENT OF   OF PRIVATE
                                                                PRIVATE PROCESS
                                                                           PROCESS SERVER
                                                                                       SERVER
COMES
COMES NOWNOW Plaintiff/Petitioner,
               Plaintiff/Petitioner, by
                                     by and
                                        and through
                                            through counsel,
                                                     counsel, and
                                                              and pursuant
                                                                   pursuant toto Local
                                                                                 Local Rule
                                                                                       Rule 4.9
                                                                                              4.9 of
                                                                                                  of Jackson
                                                                                                     Jackson County
                                                                                                             County Court
                                                                                                                    Court
Rules,
Rules, hereby
       hereby moves
              moves forfor the
                           the appointment
                                appointment of
                                            of HPS
                                               HPS Process
                                                    Process Service
                                                             Service && Investigations,
                                                                        Investigations, Inc.:
                                                                                        Inc.:


                                                                    Keith
                                                                    Keith           Blanchard
                                                                                    Blanchard          PPS25-0149
                                                                                                       PPS25-0149
 William
 William            Acree
                    Acree                 PPS25-0134
                                          PPS25-0134
                                                                    Eddie
                                                                    Eddie           Bland
                                                                                    Bland              PPS25-0150
                                                                                                       PPS25-0150
 Paul
 Paul               Aizel
                    Aizel                 PPS25-0135
                                          PPS25-0135
                                                                    Diana
                                                                    Diana           Blea
                                                                                    Blea               PPS25-0151
                                                                                                       PPS25-0151
 Mark
 Mark               Allen
                    Allen                 PPS25-0136
                                          PPS25-0136
                                                                    Richard
                                                                    Richard         Blea
                                                                                    Blea               PPS25-0152
                                                                                                       PPS25-0152
 Sandra
 Sandra             Allen
                    Allen                 PPS25-0137
                                          PPS25-0137                Thomas
                                                                    Thomas          Bogue
                                                                                    Bogue              PPS25-0153
                                                                                                       PPS25-0153
 Tracy
 Tracy              Arnold
                    Arnold                PPS25-0138
                                          PPS$25-0138               Raymond         Brandy
                                                                    Raymond         Brandy             PPS25-0154
                                                                                                       PPS25-0154
 Jeffrey
 Jeffrey            Aronson
                    Aronson               PPS25-0321
                                          PPS25-0321                Kathy
                                                                    Kathy           Broom
                                                                                    Broom              PPS25-0155
                                                                                                       PPS25-0155
 Brian
 Brian              Bankowski
                    Bankowski             PPS25-0139
                                          PPS25-0139                Gary            Burt
                                                                    Gary            Burt               PPS25-0156
                                                                                                       PPS25-0156
 Tarah
 Tarah              Beaulieu
                    Beaulieu              PPS25-0140
                                          PPS25-0140                Adam            Burton             PPS25-0157
                                                                    Adam            Burton             PPS25-0157
 Richard
 Richard            Benito
                    Benito                PPS25-0141
                                          PPS25-0141                Veronica
                                                                    Veronica     | Calderon
                                                                                   Calderon _—_‘| PPS25-0158
                                                                                                  PPS25-0158
 Brenda
 Brenda             Benoit
                    Benoit                PPS25-0142
                                          PPS25-0142                Karen
                                                                    Karen          Calkins
                                                                                   Calkins        PPS25-0159
                                                                                                  PPS25-0159
 Allison
 Allison            Bernardo
                    Bernardo      _| PPS25-0143
                                     PPS25-0143                     Bobby
                                                                    Bobby           Calvert
                                                                                    Calvert            PPS25-0160
                                                                                                       PPS25-0160
 Daniela
 Daniela            Bert
                    Bert                  PPS25-0144
                                          PPS25-0144                Anna            Canole             PPS25-0161
                                                                    Anna            Canole             PPS25-0161
 Matthew
 Matthew            Bert
                    Bert                  PPS25-0145
                                          PPS25-0145                Justin
                                                                    Justin          Carlson
                                                                                    Carlson            PPS95-0162
                                                                                                       PPS25-0162
 Daviavid
 David              Biddl
                      iddle
                    Biddle                PPS25-014
                                          PPS25-0146
                                             825-0146               Charles
                                                                    Charles     ‘| Casey
                                                                                   Casey               PPS25-0163
                                                                                                       PPS25-0163
 Nicholas
 Nicholas     _| Bill
                 Bill                     PPS25-0147
                                          PPS20-0147                Gina
                                                                    Gina           Cash
                                                                                   Cash                PPS25-0164
                                                                                                       PPS25-0164
 Bryan
 B ryan             Blair
                    Blaialr               PPS25-0148
                                          PPS25-0148
                                                                    George
                                                                    George          Castillo
                                                                                    Castillo           PPS25-0165
                                                                                                       PPS25-0165




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Lori
Lori          Cole
              Cole          PPS25-0166
                            PPS25-0166       Courtney
                                             Courtney     Edwards
                                                          Edwards          PPS25-0189
                                                                           PPS25-0189

Krehl
Krehl         Coleman
              Coleman       PPS25-0167
                            PPS25-0167       Christopher
                                             Christopher | Eixenberger
                                                           Eixenberger | PPS25-0190
                                                                         PPS25-0190

Susan
Susan         Collins
              Collins       PPS25-0168
                            PPS25-0168       Sheri
                                             Sheri        Eixenberger
                                                          Eixenberger | PPS25-0191
                                                                        PPS25-0191

Chad
Chad          Compton
              Compton       PPS25-0169
                            PPS25-0169       Abel
                                             Abel         Emiru
                                                          Emiru            PPS25-0192
                                                                           PPS25-0192

James
James         Cox
              Cox           PPS25-0018
                            PPS25-0018       Donald
                                             Donald       Eskra
                                                          Eskra Jr.
                                                                Jr.        PPS25-0193
                                                                           PPS25-0193
James
James R.
      R.      Cox
              Cox           PPS25-0170
                            PPS25-0170       Cindy
                                             Cindy        Ethridge
                                                          Ethridge         PPS25-0031
                                                                           PPS25-0031

Kimberley
Kimberley     Cox
              Cox           PPS25-0171
                            PPS25-0171       Larry
                                             Larry        Evans
                                                          Evans            PPS25-0194
                                                                           PPS25-0194

Dennis
Dennis        Dahlberg
              Dahlberg      PPS25-0021
                            PPS25-0021       Robert
                                             Robert       Fairbanks
                                                          Fairbanks        PPS25-0195
                                                                           PPS25-0195

Maria
Maria         Darling
              Darling       PPS25-0172
                            PPS25-0172       Ryan
                                             Ryan         Fortune
                                                          Fortune          PPS25-0196
                                                                           PPS25-0196

Bryce
Bryce         Dearborn
              Dearborn      PPS25-0173
                            PPS25-0173       Melissa
                                             Melissa      Fritz
                                                          Fritz            PPS25-0197
                                                                           PPS25-0197

Robert
Robert        DeLacy
              DeLacy III
                     III    PPS25-0174
                            PPS25-0174       Richard
                                             Richard      Gerber
                                                          Gerber           PPS25-0198
                                                                           PPS25-0198

Robert
Robert        DeLacy
              DeLacy Jr
                     Jr     PPS25-0175
                            PPS25-0175       Adam
                                             Adam         Golden
                                                          Golden           PPS25-0199
                                                                           PPS25-0199
Dominic
Dominic       DellaPorte
              DellaPorte    PPS25-0176
                            PPS25-0176       Bradley
                                             Bradley      Gordon
                                                          Gordon           PPS25-0200
                                                                           PPS25-0200

Cheryl
Cheryl        Dofelmire
              Dofelmire     PPS25-0177
                            PPS25-0177       Kimberly
                                             Kimberly     Greenway
                                                          Greenway         PPS25-0201
                                                                           PPS25-0201

Claudia
Claudia       Dohn
              Dohn          PPS25-0178
                            PPS25-0178       Dawn
                                             Dawn         Griffin-Luce
                                                          Griffin-Luce     PPS25-0202
                                                                           PPS25-0202

Amy
Amy           Donarski
              Donarski      PPS25-0179
                            PPS25-0179       Paul
                                             Paul         Grimes
                                                          Grimes           PPS25-0203
                                                                           PPS25-0203

Aaron
Aaron         Donarski
              Donarski Sr.
                       Sr. | PPS25-0180
                             PPS25-0180      Charles
                                             Charles      Gunndug
                                                          Gunndug          PPS25-0204
                                                                           PPS25-0204

Dale
Dale          Dorning
              Dorning       PPS25-0181
                            PPS25-0181       Mark
                                             Mark         Hagood
                                                          Hagood           PPS25-0205
                                                                           PPS25-0205

Catherine
Catherine     Drake
              Drake         PPS25-0182
                            PPS25-0182       James
                                             James        Harvey
                                                          Harvey Jr.
                                                                 Jr.       PPS25-0206
                                                                           PPS25-0206

John
John          Dressler
              Dressler      PPS25-0183
                            PPS25-0183       Grace
                                             Grace        Hazell
                                                          Hazell           PPS25-0207
                                                                           PPS25-0207

Rebecca
Rebecca       Dressler
              Dressler      PPS25-0184
                            PPS25-0184       Stephen
                                             Stephen      Heitz
                                                          Heitz            PPS25-0208
                                                                           PPS25-0208

Terrence
Terrence      Drew
              Drew          PPS25-0185
                            PPS25-0185       Austen
                                             Austen       Hendrickson
                                                          Hendrickson | PPS25-0209
                                                                        PPS25-0209

Michael
Michael       Dunard
              Dunard        PPS25-0186
                            PPS25-0186       Elizabeth
                                             Elizabeth    Henson
                                                          Henson           PPS25-0210
                                                                           PPS25-0210

Josh
Josh          Dunn
              Dunn          PPS25-0187
                            PPS25-0187       Michael
                                             Michael      Hibler
                                                          Hibler           PPS25-0211
                                                                           PPS25-0211

Randy
Randy         Earl
              Earl          PPS25-0188
                            PPS25-0188       Trinity
                                             Trinity      Hibler
                                                          Hibler           PPS25-0212
                                                                           PPS25-0212




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Averi
Averi        Holman
             Holman      PPS25-0213
                         PPS25-0213       John
                                          John            Lichtenegger
                                                          Lichtenegger | PPS25-0234
                                                                         PPS25-0234

Jenna
Jenna        Holt
             Holt        PPS25-0214
                         PPS25-0214       Bryan
                                          Bryan           Liebhart
                                                          Liebhart          PPS25-0235
                                                                            PPS25-0235

Parry
Parry        Howell
             Howell      PPS25-0215
                         PPS25-0215       Bert
                                          Bert            Lott
                                                          Lott              PPS25-0236
                                                                            PPS25-0236

Martin
Martin       Hueckel
             Hueckel     PPS25-0216
                         PPS25-0216       Robert
                                          Robert          Maliuuk
                                                          Maliuuk           PPS25-0237
                                                                            PPS25-0237

Michael
Michael D
        D    Huffman
             Huffman     PPS25-0217
                         PPS25-0217       Winnonna
                                          Winnonna        Maliuuk
                                                          Maliuuk           PPS25-0238
                                                                            PPS25-0238

Pamela
Pamela S
       S     Huffman
             Huffman     PPS25-0218
                         PPS25-0218       Bonnie
                                          Bonnie          Marvin
                                                          Marvin            PPS25-0239
                                                                            PPS25-0239

Anthony
Anthony      Ivarone
             lvarone     PPS25-0219
                         PPS25-0219       Michael
                                          Michael         McMahon
                                                          McMahon           PPS25-0240
                                                                            PPS25-0240

George
George       Illidge
             Illidge     PPS25-0220
                         PPS25-0220       Michael
                                          Michael         Meador
                                                          Meador            PPS25-0241
                                                                            PPS25-0241

Frank
Frank        James
             James       PPS25-0221
                         PPS25-0221       James
                                          James           Meadows
                                                          Meadows           PPS25-0242
                                                                            PPS25-0242

Matthew
Matthew      Jankowski
             Jankowski   PPS25-0222
                         PPS25-0222       Krista
                                          Krista          Meadows
                                                          Meadows           PPS25-0243
                                                                            PPS25-0243

Zachary
Zachary      Jenkins
             Jenkins     PPS25-0223
                         PPS25-0223       Jerry
                                          Jerry           Melber
                                                          Melber            PPS25-0244
                                                                            PPS25-0244

Betty
Betty        Johnson
             Johnson     PPS25-0224
                         PPS25-0224       Carrie
                                          Carrie          Melte
                                                          Melte             PPS25-0245
                                                                            PPS25-0245

Kevin
Kevin        Johnson
             Johnson     PPS25-0225
                         PPS25-0225       Eric
                                          Eric            Mendenhall
                                                          Mendenhall        PPS25-0246
                                                                            PPS25-0246

Ron
Ron          Johnson
             Johnson     PPS25-0226
                         PPS25-0226       Matthew
                                          Matthew         Millhollin
                                                          Millhollin        PPS25-0247
                                                                            PPS25-0247

Patrick
Patrick      Jones
             Jones       PPS25-0227
                         PPS25-0227       Carla
                                          Carla           Monegain
                                                          Monegain          PPS25-0248
                                                                            PPS25-0248

Kenneth
Kenneth      Kearney
             Kearney     PPS25-0228
                         PPS25-0228       Spencer
                                          Spencer         Mongtomery
                                                          Mongtomery | PPS25-0249
                                                                       PPS25-0249

Kenneth
Kenneth      Klewicki
             Klewicki    PPS25-0229
                         PPS25-0229       Christopher
                                          Christopher | Moore
                                                        Moore               PPS25-0250
                                                                            PPS25-0250

Janice
Janice       Kirkhart
             Kirkhart    PPS25-0056
                         PPS25-0056       Daniel
                                          Daniel          Moore
                                                          Moore             PPS25-0251
                                                                            PPS25-0251
Tyler
Tyler        Kirkhart
             Kirkhart    PPS25-0057
                         PPS25-0057       Michael
                                          Michael         Morrison
                                                          Morrison          PPS25-0252
                                                                            PPS25-0252

Brent
Brent        Kirkhart
             Kirkhart    PPS25-0058
                         PPS25-0058       Nancy
                                          Nancy           Muchnick
                                                          Muchnick          PPS25-0253
                                                                            PPS25-0253

Anthony
Anthony      Ko
             Ko          PPS25-0230
                         PPS25-0230       Kelly
                                          Kelly           Murski
                                                          Murski            PPS25-0254
                                                                            PPS25-0254

Michele
Michele      Kriner
             Kriner      PPS25-0231
                         PPS25-0231       Paul
                                          Paul            Nardizzi
                                                          Nardizzi          PPS25-0255
                                                                            PPS25-0255

Casey
Casey        Lanford
             Lanford     PPS25-0232
                         PPS25-0232       Lance
                                          Lance           Neff
                                                          Neff              PPS25-0256
                                                                            PPS25-0256

Marcus
Marcus       Lawing
             Lawing      PPS25-0233
                         PPS25-0233       Wendy
                                          Wendy           Neff
                                                          Neff              PPS25-0257
                                                                            PPS25-0257

Jennifer
Jennifer     Lecuyer
             Lecuyer     PPS25-0318
                         PPS25-0318       Jeremy
                                          Jeremy          Nicholas
                                                          Nicholas          PPS25-0079
                                                                            PPS25-0079




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                                                                                                           Electronically Filed - JACKSON - KANSAS CITY - February 17, 2025 - 03:18 PM
                                                                                        Wd 8T:€0 - SZ0z ‘ZT Areniqas - ALIO SVSNV - NOSHOVE - pails Ajpeo1u0.99)3
Aubrianna
Aubrianna     Nichols
              Nichols     PPS25-0258
                          PPS25-0258       Richard
                                           Richard      Rober
                                                        Rober             PPS25-0279
                                                                          PPS25-0279

Diana
Diana         Nichols
              Nichols     PPS25-0259
                          PPS25-0259       David
                                           David        Roberts
                                                        Roberts           PPS25-0280
                                                                          PPS25-0280

Jeffrey
Jeffrey       Nichols
              Nichols     PPS25-0260
                          PPS25-0260       Patricia
                                           Patricia     Roberts
                                                        Roberts           PPS25-0281
                                                                          PPS25-0281

Carla
Carla         Niekamp
              Niekamp     PPS25-0359
                          PPS25-0359       Richard
                                           Richard      Ross
                                                        Ross Jr.
                                                             Jr.          PPS25-0282
                                                                          PPS25-0282

Michael
Michael       Noble
              Noble       PPS25-0261
                          PPS25-0261       Steve
                                           Steve        Rozhon
                                                        Rozhon            PPS25-0283
                                                                          PPS25-0283
Michael
Michael J.
        J.    Noble
              Noble       PPS25-0080
                          PPS25-0080       Rene
                                           Rene Ann
                                                Ann     Rulo
                                                        Rulo              PPS25-0284
                                                                          PPS25-0284

Daryl
Daryl         Oestreich
              Oestreich   PPS25-0262
                          PPS25-0262       Robert
                                           Robert       Sanders
                                                        Sanders           PPS25-0285
                                                                          PPS25-0285
Daniel
Daniel        Owens
              Owens       PPS25-0263
                          PPS25-0263       Vincent
                                           Vincent      Sarelli
                                                        Sarelli           PPS25-0286
                                                                          PPS25-0286

Craig
Craig         Palmer
              Palmer      PPS25-0264
                          PPS25-0264       Tristan
                                           Tristan      Seaver
                                                        Seaver            PPS25-0287
                                                                          PPS25-0287

Cynthia
Cynthia       Paris
              Paris       PPS25-0265
                          PPS25-0265       Westley
                                           Westley      Seifert
                                                        Seifert           PPS25-0288
                                                                          PPS25-0288

M.
M. Frederick
   Frederick | Parson
               Parson     PPS25-0266
                          PPS25-0266       Terri
                                           Terri Lynn
                                                 Lynn   Shean-Gilam
                                                        Shean-Gilam | PPS25-0289
                                                                      PPS25-0289

Cody
Cody          Patton
              Patton      PPS25-0267
                          PPS25-0267       Katie
                                           Katie        Shiflett
                                                        Shiflett          PPS25-0290
                                                                          PPS25-0290

Vincent
Vincent       Piazza
              Piazza      PPS25-0268
                          PPS25-0268       Kenneth
                                           Kenneth      Short
                                                        Short             PPS25-0291
                                                                          PPS25-0291

Timothy
Timothy       Pinney
              Pinney      PPS25-0269
                          PPS25-0269       Jordan
                                           Jordan       Sitarski
                                                        Sitarski          PPS25-0292
                                                                          PPS25-0292

Nancy
Nancy         Porter
              Porter      PPS25-0270
                          PPS25-0270       Thomas
                                           Thomas       Skinner
                                                        Skinner           PPS25-0293
                                                                          PPS25-0293

Mason
Mason         Potter
              Potter      PPS25-0271
                          PPS25-0271       Bryan
                                           Bryan        Smith
                                                        Smith             PPS25-0294
                                                                          PPS25-0294

Benjamin
Benjamin      Purser
              Purser      PPS25-0272
                          PPS25-0272       Brian
                                           Brian        Smith
                                                        Smith             PPS25-0295
                                                                          PPS25-0295

Jason
Jason         Ramey
              Ramey       PPS25-0319
                          PPS25-0319       Garrett
                                           Garrett      Smith
                                                        Smith             PPS25-0296
                                                                          PPS25-0296
Jadyn
Jadyn         Ramey
              Ramey       PPS25-0320
                          PPS25-0320       Gean
                                           Gean         Smith
                                                        Smith             PPS25-0297
                                                                          PPS25-0297

Richard
Richard       Ramirez
              Ramirez     PPS25-0273
                          PPS25-0273       Katie
                                           Katie Jo
                                                 Jo     Smith
                                                        Smith             PPS25-0298
                                                                          PPS25-0298

Christopher
Christopher | Reed
              Reed        PPS25-0274
                          PPS25-0274       Anthony
                                           Anthony      Spada
                                                        Spada             PPS25-0299
                                                                          PPS25-0299

Gavin
Gavin         Rees
              Rees        PPS25-0275
                          PPS25-0275       Melissa
                                           Melissa      Spencer-Bryant
                                                        Spencer-Bryant   | PPS25-0300
                                                                           PPS25-0300

Lisa
Lisa          Rees
              Rees        PPS25-0276
                          PPS25-0276       Samuel
                                           Samuel       Staton
                                                        Staton            PPS25-0301
                                                                          PPS25-0301
Cheryl
Cheryl        Richey
              Richey      PPS25-0277
                          PPS25-0277       Shelby
                                           Shelby       Stauble
                                                        Stauble           PPS25-0302
                                                                          PPS25-0302

Chase
Chase         Ridgeway
              Ridgeway    PPS25-0278
                          PPS25-0278       Jason
                                           Jason        Stoor
                                                        Stoor             PPS25-0303
                                                                          PPS25-0303




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                                                                                                                            Electronically Filed - JACKSON - KANSAS CITY - February 17, 2025 - 03:18 PM
 Steven            Stosur             PPS25-0304                  Ryan E.           Weekley            PPS25-0120

 Ramona            Talvacchio         PPS25-0305                  Austin            Weekley            PPS25-0121

 Jeffrey           Teitel             PPS25-0306                  Ryan M.           Weekley            PPS25-0122

 John              Thompson           PPS25-0307                  Barbara           West               PPS25-0312

 John              Udy                PPS25-0308                  Crystal           Williams           PPS25-0313

 Robert E.         Vick II            PPS25-0116                  Jack L.           Williams           PPS25-0314

 Brad              Votaw              PPS25-0117                  Gregory           Willing            PPS25-0315

 Zachary           Wakid              PPS25-0309                  Conni             Wilson             PPS25-0128

 Ambiko            Wallace            PPS25-0310                  Edwin             Young              PPS25-0316

 Stephen           Waters             PPS25-0119                  Nick              Zotti              PPS25-0317

 Michael           Weaver             PPS25-0311

as private process servers in the above-captioned matter. In support of said motion, Plaintiff/Petitioner states that the
above-named individuals are on the Court’s list of approved process servers and the information contained in their
applications and affidavits on file is current and still correct.
                                                                  Respectfully Submitted,

                                                                 Sarah J. Duggan #73687
                                                                 1600 Genessee St., Ste. 956
                                                                 Kansas City, MO 64102
                                                                 Tele: (816) 756-5458
                                                                 Fax: (816_ 666-9596
                                                                 sduggan@brownandcurry.com
                                                                 Attorney for Plaintiff


                          ORDER FOR APPOINTMENT OF PRIVATE PROCESS SERVER
It is hereby ordered that Petitioner/Plaintiff’s Motion for Appointment of Private Process Server is sustained and that
HPS Process Service & Investigations and the above named individuals are hereby appointed to serve process in the
above captioned matter.

DATE:                                                            ______________________________
                                                                 Judge or Circuit Clerk




      Case 4:25-cv-00218-WBG                   Document 1-1            Filed 03/28/25          Page 29 of 48
             IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                              AT KANSAS CITY

STACIE MCCALL,

                       PLAINTIFF(S),                           CASE NO. 2516-CV04651
VS.                                                            DIVISION 4

TRUMAN MEDICAL CENTER, INC.,

                       DEFENDANT(S).

       NOTICE OF CASE MANAGEMENT CONFERENCE FOR CIVIL CASE
                        AND ORDER FOR MEDIATION
______________________________________________________________________________

        NOTICE IS HEREBY GIVEN that this case is currently assigned to the Honorable
PATRICK CHARLES EDWARDS and a Case Management Conference will be held with the
Honorable PATRICK CHARLES EDWARDS on 09-JUN-2025 in DIVISION 4 at 09:00 AM,
pursuant to Administrative Order. All Applications for Continuance of a Case Management
Conference should be filed on or before Wednesday of the week prior to the case management
setting. Applications for Continuance of a Case Management Conference shall comply with
Supreme Court Rule and 16th Cir. R. 34.1. Continuance of a Case Management Conference will
only be granted for good cause shown because it is the desire of the Court to meet with counsel and
parties in all cases within the first 4 months that a case has been on file. All counsel and parties are
directed to check Case.NET on the 16th Judicial Circuit web site at www.16thcircuit.org after filing
an application for continuance to determine whether or not it has been granted.

        A lead attorney of record must be designated for each party as required by Local Rule 3.5.1.
 A separate pleading designating the lead attorney of record shall be filed by each party as described
in Local Rule 3.5.2. The parties are advised that if they do not file a separate pleading designating
lead counsel, even in situations where there is only one attorney representing the party, JIS will not
be updated by civil records department, and copies of orders will be sent to the address currently
shown in JIS. Civil Records does not update attorney information from answers or other pleadings.
The Designation of Lead Attorney pleading shall contain the name of lead counsel, firm name,
mailing address, phone number, FAX number and E-mail address of the attorney who is lead
counsel.
       At the Case Management Conference, counsel should be prepared to address at least the
following:

       a.      A trial setting;
       b.      Expert Witness Disclosure Cutoff Date;
       c.      A schedule for the orderly preparation of the case for trial;
       d.      Any issues which require input or action by the Court;
       e.      The status of settlement negotiations.


2516-CV04651                                  Page 1 of 2                         DMSNCMCIV (3/2024)
      Case 4:25-cv-00218-WBG            Document 1-1         Filed 03/28/25      Page 30 of 48
                                           MEDIATION
        The parties are ordered to participate in mediation pursuant to Supreme Court Rule 17.
Mediation shall be completed within 10 months after the date the case if filed for complex cases,
and 6 months after the date the case is filed for other circuit cases, unless otherwise ordered by
the Court. Each party shall personally appear at the mediation and participate in the process. In
the event a party does not have the authority to enter into a settlement, then a representative of
the entity that does have actual authority to enter into a settlement on behalf of the party shall
also personally attend the mediations with the party.

        The parties shall confer and select a mutually agreeable person to act as mediator in this
case. If the parties are unable to agree on a mediator the court will appoint a mediator at the
Case Management Conference.

       Each party shall pay their respective pro-rata cost of the mediation directly to the
mediator.

                                  POLICIES/PROCEDURES
       Please refer to the Court’s web page www.16thcircuit.org for division policies and
procedural information listed by each judge.


                                              /S/ PATRICK CHARLES EDWARDS
                                              PATRICK CHARLES EDWARDS, Circuit Judge


                                       Certificate of Service

         This is to certify that a copy of the foregoing was mailed postage pre-paid or hand
delivered to the plaintiff with the delivery of the file-stamped copy of the petition. It is further
certified that a copy of the foregoing will be served with the summons on each defendant named
in this action.

Attorney for Plaintiff(s):
SARAH JESSICA DUGGAN, 312 W, KANSAS CITY, MO 64112

Defendant(s):
TRUMAN MEDICAL CENTER, INC.
 Dated: 20-FEB-2025                                             BEVERLY A. NEWMAN
                                                                Court Administrator




2516-CV04651                                 Page 2 of 2                       DMSNCMCIV (3/2024)
     Case 4:25-cv-00218-WBG            Document 1-1        Filed 03/28/25      Page 31 of 48
                        IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                                             AT KANSAS CITY           AT INDEPENDENCE



RE:  STACIE MCCALL V TRUMAN MEDICAL CENTER, INC.
CASE NO:  2516-CV04651


TO:     SARAH JESSICA DUGGAN
        312 W
        KANSAS CITY, MO 64112

We have received pleadings, which you submitted for filing in the case and they have been file-stamped on 02/17/25.
However, your pleading cannot be processed further until the following action is taken:

RULE 3.2 - STYLE                                                      RULE 68.7 – VITAL STATISTICS REPORT
  Additional service instructions are needed.                           Need Certificate of dissolution of marriage form.
  Incorrect case number/filed in wrong county.
  Document is unreadable.                                             RULE 74.14 SUPREME CT – FOREIGN JUDGMENT
                                                                        Authentication of foreign judgment required.
RULE 4.2 (2)                                                            Affidavit pursuant to Supreme Court Rule 74.14
  Need Circuit Court Form 4
                                                                      RULE 54.12 SERVICE IN REM OR QUASI IN REM
RULE 5.6 – COLLECTIONS OF DEPOSIT                                     ACTIONS
  No fee, or incorrect fee, received; fee required is $______.          Affidavit for Service by Publication required pursuant to
  Insufficient Filing Fee; Please Remit $______                          Supreme Court Rule 54.12c.
  No signature on check/form 1695.                                      Order for Service by Publication required pursuant to
  No request to proceed in forma pauperis.                               Supreme Court Rule 54.12c.
  No personal checks accepted.                                          Notice for Service by Publication required pursuant to
                                                                         Supreme Court Rule 54.12c.
RULE 68.1                                                               Affidavit for Service by Certified/Registered Mail
  Need Circuit Court Form 17                                             pursuant to Supreme Court Rule 54.12b.

    OTHER: Please refile your motion/proposed order for private process server as "MATTHEW BERT, JAMES R COX
PPS25-0170, MICHAEL NOBLE PPS25-0261 and ANTHONY IVARONE" are not an approved process server for Jackson
County. For reference please double check https://www.16thcircuit.org/private-process-server-approval-list. For questions
please contact at 816-881-3970.
    Please take the actions necessary to comply with the Circuit Court Rules and your request will be processed.
    The private process server listed is not on our approved list.
    Execution in effect. Return date _________. Request may be resubmitted within one week prior to return date.
    Supreme Court Rule 90.13 requires interrogatories be served with summons of garnishment.

If the filing was a new case, please be advised that unless the additional information marked is received within 30
days of the date of this notice this case will be dismissed pursuant to Rule 37.4 for failure to prosecute without
prejudice, at the Plaintiff’s cost. Collection efforts will be pursued for these costs.
Please refer to the Court’s website at www.16thcircuit.org for Court Rules or Forms.
Copies electronic noticed, faxed, emailed and/or mailed FEBRUARY 20, 2025 to:
                                                                        COURT ADMINISTRATOR’S OFFICE
                                                                       DEPARTMENT OF CIVIL RECORDS
                                                                  CIRCUIT COURT OF JACKSON COUNTY, MISSOURI


            FEBRUARY 20, 2025                                    By
                  Date                                                         Deputy Court Administrator
                                                                         415 East 12th St., Kansas City, Missouri 64106
                                                                         308 W. Kansas, Independence, Missouri 64050



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Case no. 2516-CV04651                                 Document
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                                      IN
                                      IN THE
                                         THE CIRCUIT
                                             CIRCUIT COURT
                                                     COURT OFOF JACKSON
                                                                JACKSON COUNTY
                                                                         COUNTY
                                               AT KANSAS
                                               AT KANSAS CITY,
                                                          CITY, MISSOURI
                                                                MISSOURI
Stacie
Stacie McCall
       McCall




                                                                                                                                   - NOSMOVE
                                 ))
           Plaintiff/Petitioner,
           Plaintiff/Petitioner,         ))
VS.
VS.                                      ))                  Case
                                                             Case No.:2516-CV04651
                                                                    No.:2516-CV04651
                                         ))




                                                                                                                                   ‘TZ Arenugas - ALIDO SVSNV™
Truman
Truman Medical
        Medical Center,
                  Center, Inc.
                            Inc.         ))                  Division
                                                             Division No.:
                                                                       No.: 44
         Defendant/Respondent.
         Defendant/Respondent. _ ))
                            MOTION
                            MOTION FOR FOR APPOINTMENT
                                               APPOINTMENT OF    OF PRIVATE
                                                                     PRIVATE PROCESS
                                                                                  PROCESS SERVER
                                                                                              SERVER
COMES
COMES NOWNOW Plaintiff/Petitioner,
                Pilaintiff/Petitioner, by
                                       by and
                                            and through
                                                through counsel,
                                                         counsel, and
                                                                    and pursuant
                                                                         pursuant to to Local
                                                                                        Local Rule
                                                                                              Rule 4.9
                                                                                                     4.9 of
                                                                                                         of Jackson
                                                                                                            Jackson County
                                                                                                                    County Court
                                                                                                                           Court
Rules,
Rules, hereby
       hereby moves
               moves forfor the
                            the appointment
                                 appointment of of HPS
                                                   HPS Process
                                                        Process Service
                                                                  Service & & Investigations,
                                                                               Investigations, Inc.:
                                                                                               Inc.:


                                                                      Diana
                                                                      Diana              Blea
                                                                                         Blea                PPS25-0151
                                                                                                             PPS25-0151
 William
 William               Acree
                       Acree             PPS25-0134
                                         PPS25-0134
                                                                      Richard
                                                                      Richard            Blea
                                                                                         Blea                PPS25-0152
                                                                                                             PPS25-0152
 Paul
 Paul                  Aizel
                       Aizel             PPS25-0135
                                         PPS25-0135




                                                                                                                                   WY 6O:TT - ZO
                                                                      Thomas
                                                                      Thomas             Bogue
                                                                                         Bogue               PPS25-0153
                                                                                                             PPS25-0153
 Mark
 Mark                  Allen
                       Allen             PPS25-0136
                                         PPS25-0136
                                                                      Raymond
                                                                      Raymond            Brandy
                                                                                         Brandy              PPS25-0154
                                                                                                             PPS25-0154
 Sandra
 Sandra                Allen
                       Allen             PPS25-0137
                                         PPS25-0137                   Kathy              Broom               PPS95-0155
                                                                      Kathy              Broom               PPS25-0155
 Tracy
 Tracy                 Arnold
                       Arnold            PPS25-0138
                                         PPS25-0138                   James              Burke               PPS95.9379
                                                                      James              Burke               PPS25-0379
 Jeffrey
 Jeffrey               Aronson
                       Aronson           PPS25-0321
                                         PPS25-0321                   Gary               Burt                PPS95.0156
                                                                      Gary               Burt                PPS25-0156
 Brian
 Brian                 Bankowski
                       Bankowski         PPS25-0139
                                         PPS25-0139                   Adam               Burton              PPS95-0157
                                                                      Adam               Burton              PPS25-0157
 Tarah
 Tarah                 Beaulieu
                       Beaulieu          PPS25-0140
                                         PPS25-0140                   Steve              Butcher             PPS95_0380
                                                                      Steve              Butcher             PPS25-0380
 Richard               Benito            PPS25-0141
 Richard               Benito            pps2s-0141                   Veronica
                                                                      Veronica     _| Calderon
                                                                                      Calderon               PPS25-0158
                                                                                                             PPS25-0158
 Brenda
 Brenda                Benoit
                       Benoit            PPS25-0142
                                         PPS25-0142                   Karen              Calkins             PPS95-0159
                                                                      Karen              Calkins             PPS25-0159
 Allison
 Allison               Bernardo
                       Bernardo          PPS25-0143
                                         PPS25-0143                   Bobby              Calvert             PPS95-0160
                                                                      Bobby              Calvert             PPS25-0160
 Daniela
 Daniela               Bert
                       Bert              PPS25-0144
                                         PPS25-0144                   Anna               Canole              PPS75.0164
                                                                      Anna               Canole              PPS25-0161
 Mathew
 Math                  Bert
                       Bert              PPS25-0145
                                         PPS25-014
   anew                  °                  825-0146                  Justin
                                                                      Justin             Carlson
                                                                                         Carlson             PPS25-0162
                                                                                                             PPS25-0162
 David
 David                 Biddle
                       Biddl             PPS25-0146
                                         PPS25-0146
   a                     aad                                          Charles
                                                                      Charles            Casey
                                                                                         Casey               PPS25-0163
                                                                                                             PPS25-0163
 Nicholas
 Nichol                Bill
                       Bill              PPS25-0147
                                         PPS25-0147
   ienoras               |                                            Gina
                                                                      Gina               Cash
                                                                                         Cash                PPS25-0164
                                                                                                             PPS25-0164
 Bryan
 Bryan                 Blair
                       Blair             PPS25-0148
                                         PPS25-0148
                                                                      George
                                                                      George             Castillo
                                                                                         Castillo            PPS25-0165
                                                                                                             PPS25-0165
 Keith
 Keith                 Blanchard
                       Blanchard         PPS25-0149
                                         PPS25-0149
                                                                      Lori
                                                                      Lori               Cole
                                                                                         Cole                PPS25-0166
                                                                                                             PPS25-0166
 Eddie
 Eddie                 Bland
                       Bland             PPS25-0150
                                         PPS25-0150
                                                                      Krehl
                                                                      Krehl              Coleman
                                                                                         Coleman             PPS25-0167
                                                                                                             PPS25-0167




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                                                                                        Electronically Filed - JACKSON - KANSAS CITY - February 21, 2025 - 11:09 AM
                                                                                        - Palla Ajpestuos998/3
Susan
Susan         Collins
              Collins       PPS25-0168
                            PPS25-0168       Abel
                                             Abel         Emiru
                                                          Emiru            PPS25-0192
                                                                           PPS25-0192




                                                                                        - NOSMOVE
Chad
Chad          Compton
              Compton       PPS25-0169
                            PPS25-0169       Donald
                                             Donald       Eskra
                                                          Eskra Jr.
                                                                Jr.        PPS25-0193
                                                                           PPS25-0193

James
James         Cox
              Cox           PPS25-0018
                            PPS25-0018       Cindy
                                             Cindy        Ethridge
                                                          Ethridge         PPS25-0031
                                                                           PPS25-0031

Kimberley
Kimberley     Cox
              Cox           PPS25-0171
                            PPS25-0171       Larry
                                             Larry        Evans
                                                          Evans            PPS25-0194
                                                                           PPS25-0194




                                                                                        ‘TZ Arenugas - ALIDO SVSNV™
Dennis
Dennis        Dahlberg
              Dahlberg      PPS25-0021
                            PPS25-0021       Robert
                                             Robert       Fairbanks
                                                          Fairbanks        PPS25-0195
                                                                           PPS25-0195
Maria
Maria         Darling
              Darling       PPS25-0172
                            PPS25-0172       Ryan
                                             Ryan         Fortune
                                                          Fortune          PPS25-0196
                                                                           PPS25-0196

Bryce
Bryce         Dearborn
              Dearborn      PPS25-0173
                            PPS25-0173       Melissa
                                             Melissa      Fritz
                                                          Fritz            PPS25-0197
                                                                           PPS25-0197

Robert
Robert        DeLacy
              DeLacy III
                     III    PPS25-0174
                            PPS25-0174       Richard
                                             Richard      Gerber
                                                          Gerber           PPS25-0198
                                                                           PPS25-0198

Robert
Robert        DeLacy
              DeLacy Jr
                     Jr     PPS25-0175
                            PPS25-0175       Kurie
                                             Kurie        Ghersini
                                                          Ghersini         PPS25-0385
                                                                           PPS25-0385




                                                                                        WY 6O:TT - ZO
Dominic
Dominic       DellaPorte
              DellaPorte    PPS25-0176
                            PPS25-0176       Adam
                                             Adam         Golden
                                                          Golden           PPS25-0199
                                                                           PPS25-0199
Cheryl
Cheryl        Dofelmire
              Dofelmire     PPS25-0177
                            PPS25-0177       Bradley
                                             Bradley      Gordon
                                                          Gordon           PPS25-0200
                                                                           PPS25-0200

Claudia
Claudia       Dohn
              Dohn          PPS25-0178
                            PPS25-0178       Kimberly
                                             Kimberly     Greenway
                                                          Greenway         PPS25-0201
                                                                           PPS25-0201

Amy
Amy           Donarski
              Donarski      PPS25-0179
                            PPS25-0179       Dawn
                                             Dawn         Griffin-Luce
                                                          Griffin-Luce     PPS25-0202
                                                                           PPS25-0202

Aaron
Aaron         Donarski
              Donarski Sr.
                       Sr. | PPS25-0180
                             PPS25-0180      Paul
                                             Paul         Grimes
                                                          Grimes           PPS25-0203
                                                                           PPS25-0203

Dale
Dale          Dorning
              Dorning       PPS25-0181
                            PPS25-0181       Charles
                                             Charles      Gunndug
                                                          Gunndug          PPS25-0204
                                                                           PPS25-0204

Catherine
Catherine     Drake
              Drake         PPS25-0182
                            PPS25-0182       Mark
                                             Mark         Hagood
                                                          Hagood           PPS25-0205
                                                                           PPS25-0205

John
John          Dressler
              Dressler      PPS25-0183
                            PPS25-0183       John
                                             John         Harder
                                                          Harder           PPS25-0387
                                                                           PPS25-0387

Rebecca
Rebecca       Dressler
              Dressler      PPS25-0184
                            PPS25-0184       Christy
                                             Christy      Hartline
                                                          Hartline         PPS25-0389
                                                                           PPS25-0389
Terrence
Terrence      Drew
              Drew          PPS25-0185
                            PPS25-0185       James
                                             James        Harvey
                                                          Harvey Jr.
                                                                 Jr.       PPS25-0206
                                                                           PPS25-0206

Michael
Michael       Dunard
              Dunard        PPS25-0186
                            PPS25-0186       Grace
                                             Grace        Hazell
                                                          Hazell           PPS25-0207
                                                                           PPS25-0207

Josh
Josh          Dunn
              Dunn          PPS25-0187
                            PPS25-0187       Stephen
                                             Stephen      Heitz
                                                          Heitz            PPS25-0208
                                                                           PPS25-0208

Randy
Randy         Earl
              Earl          PPS25-0188
                            PPS25-0188       Austen
                                             Austen       Hendrickson
                                                          Hendrickson | PPS25-0209
                                                                        PPS25-0209

Courtney
Courtney      Edwards
              Edwards       PPS25-0189
                            PPS25-0189       Elizabeth
                                             Elizabeth    Henson
                                                          Henson           PPS25-0210
                                                                           PPS25-0210

Christopher
Christopher | Eixenberger
              Eixenberger | PPS25-0190
                            PPS25-0190       Michael
                                             Michael      Hibler
                                                          Hibler           PPS25-0211
                                                                           PPS25-0211

Sheri
Sheri         Eixenberger
              Eixenberger | PPS25-0191
                            PPS25-0191       Trinity
                                             Trinity      Hibler
                                                          Hibler           PPS25-0212
                                                                           PPS25-0212




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                                                                                         Electronically Filed - JACKSON - KANSAS CITY - February 21, 2025 - 11:09 AM
                                                                                         - Palla Ajpestuos998/3
Averi
Averi        Holman
             Holman      PPS25-0213
                         PPS25-0213       Jennifer
                                          Jennifer        Lecuyer
                                                          Lecuyer           PPS25-0318
                                                                            PPS25-0318




                                                                                         - NOSMOVE
Jenna
Jenna        Holt
             Holt        PPS25-0214
                         PPS25-0214       John
                                          John            Lichtenegger
                                                          Lichtenegger | PPS25-0234
                                                                         PPS25-0234

Parry
Parry        Howell
             Howell      PPS25-0215
                         PPS25-0215       Bryan
                                          Bryan           Liebhart
                                                          Liebhart          PPS25-0235
                                                                            PPS25-0235

Martin
Martin       Hueckel
             Hueckel     PPS25-0216
                         PPS25-0216       Bert
                                          Bert            Lott
                                                          Lott              PPS25-0236
                                                                            PPS25-0236




                                                                                         ‘TZ Arenugas - ALIDO SVSNV™
Michael
Michael D
        D    Huffman
             Huffman     PPS25-0217
                         PPS25-0217       Robert
                                          Robert          Maliuuk
                                                          Maliuuk           PPS25-0237
                                                                            PPS25-0237
Pamela
Pamela S
       S     Huffman
             Huffman     PPS25-0218
                         PPS25-0218       Winnonna
                                          Winnonna        Maliuuk
                                                          Maliuuk           PPS25-0238
                                                                            PPS25-0238

Anthony
Anthony      Iavarone
             lavarone    PPS25-0219
                         PPS25-0219       Bonnie
                                          Bonnie          Marvin
                                                          Marvin            PPS25-0239
                                                                            PPS25-0239

George
George       Illidge
             Illidge     PPS25-0220
                         PPS25-0220       Michael
                                          Michael         McMahon
                                                          McMahon           PPS25-0240
                                                                            PPS25-0240

Frank
Frank        James
             James       PPS25-0221
                         PPS25-0221       Michael
                                          Michael         Meador
                                                          Meador            PPS25-0241
                                                                            PPS25-0241




                                                                                         WY 6O:TT - ZO
Matthew
Matthew      Jankowski
             Jankowski   PPS25-0222
                         PPS25-0222       James
                                          James           Meadows
                                                          Meadows           PPS25-0242
                                                                            PPS25-0242

Zachary
Zachary      Jenkins
             Jenkins     PPS25-0223
                         PPS25-0223       Krista
                                          Krista          Meadows
                                                          Meadows           PPS25-0243
                                                                            PPS25-0243

Betty
Betty        Johnson
             Johnson     PPS25-0224
                         PPS25-0224       Jerry
                                          Jerry           Melber
                                                          Melber            PPS25-0244
                                                                            PPS25-0244

Kevin
Kevin        Johnson
             Johnson     PPS25-0225
                         PPS25-0225       Carrie
                                          Carrie          Melte
                                                          Melte             PPS25-0245
                                                                            PPS25-0245

Ron
Ron          Johnson
             Johnson     PPS25-0226
                         PPS25-0226       Eric
                                          Eric            Mendenhall
                                                          Mendenhall        PPS25-0246
                                                                            PPS25-0246

Patrick
Patrick      Jones
             Jones       PPS25-0227
                         PPS25-0227       Matthew
                                          Matthew         Millhollin
                                                          Millhollin        PPS25-0247
                                                                            PPS25-0247

Kenneth
Kenneth      Kearney
             Kearney     PPS25-0228
                         PPS25-0228       Carla
                                          Carla           Monegain
                                                          Monegain          PPS25-0248
                                                                            PPS25-0248

Ken
Ken          Klewicki
             Klewicki    PPS25-0229
                         PPS25-0229       Spencer
                                          Spencer         Montgomery
                                                          Montgomery | PPS25-0249
                                                                       PPS25-0249

Janice
Janice       Kirkhart
             Kirkhart    PPS25-0056
                         PPS25-0056       Christopher
                                          Christopher | Moore
                                                        Moore               PPS25-0250
                                                                            PPS25-0250

Tyler
Tyler        Kirkhart
             Kirkhart    PPS25-0057
                         PPS25-0057       Daniel
                                          Daniel          Moore
                                                          Moore             PPS25-0251
                                                                            PPS25-0251

Brent
Brent        Kirkhart
             Kirkhart    PPS25-0058
                         PPS25-0058       Michael
                                          Michael         Morrison
                                                          Morrison          PPS25-0252
                                                                            PPS25-0252

Anthony
Anthony      Ko
             Ko          PPS25-0230
                         PPS25-0230       Nancy
                                          Nancy           Muchnick
                                                          Muchnick          PPS25-0253
                                                                            PPS25-0253

Michele
Michele      Kriner
             Kriner      PPS25-0231
                         PPS25-0231       Kelly
                                          Kelly           Murski
                                                          Murski            PPS25-0254
                                                                            PPS25-0254

Wyman
Wyman        Kroft
             Kroft       PPS25-0412
                         PPS25-0412       Paul
                                          Paul            Nardizzi
                                                          Nardizzi          PPS25-0255
                                                                            PPS25-0255

Casey
Casey        Lanford
             Lanford     PPS25-0232
                         PPS25-0232       Lance
                                          Lance           Neff
                                                          Neff              PPS25-0256
                                                                            PPS25-0256

Marcus
Marcus       Lawing
             Lawing      PPS25-0233
                         PPS25-0233       Wendy
                                          Wendy           Neff
                                                          Neff              PPS25-0257
                                                                            PPS25-0257




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                                                                                        Electronically Filed - JACKSON - KANSAS CITY - February 21, 2025 - 11:09 AM
                                                                                        - Palla Ajpestuos998/3
Jeremy
Jeremy        Nicholas
              Nicholas    PPS25-0079
                          PPS25-0079       Chase
                                           Chase        Ridgeway
                                                        Ridgeway          PPS25-0278
                                                                          PPS25-0278




                                                                                        - NOSMOVE
Aubrianna
Aubrianna     Nichols
              Nichols     PPS25-0258
                          PPS25-0258       Richard
                                           Richard      Rober
                                                        Rober             PPS25-0279
                                                                          PPS25-0279

Diana
Diana         Nichols
              Nichols     PPS25-0259
                          PPS25-0259       David
                                           David        Roberts
                                                        Roberts           PPS25-0280
                                                                          PPS25-0280

Jeffrey
Jeffrey       Nichols
              Nichols     PPS25-0260
                          PPS25-0260       Patricia
                                           Patricia     Roberts
                                                        Roberts           PPS25-0281
                                                                          PPS25-0281




                                                                                        ‘TZ Arenugas - ALIDO SVSNV™
Carla
Carla         Niekamp
              Niekamp     PPS25-0359
                          PPS25-0359       Richard
                                           Richard      Ross
                                                        Ross Jr.
                                                             Jr.          PPS25-0282
                                                                          PPS25-0282

Michael
Michael       Noble
              Noble       PPS25-0080
                          PPS25-0080       Steve
                                           Steve        Rozhon
                                                        Rozhon            PPS25-0283
                                                                          PPS25-0283

Daryl
Daryl         Oestreich
              Oestreich   PPS25-0262
                          PPS25-0262       Rene
                                           Rene Ann
                                                Ann     Rulo
                                                        Rulo              PPS25-0284
                                                                          PPS25-0284

Branson
Branson       Oxford
              Oxford      PPS25-0394
                          PPS25-0394       Robert
                                           Robert       Sanders
                                                        Sanders           PPS25-0285
                                                                          PPS25-0285

Daniel
Daniel        Owens
              Owens       PPS25-0263
                          PPS25-0263       Vincent
                                           Vincent      Sarelli
                                                        Sarelli           PPS25-0286
                                                                          PPS25-0286




                                                                                        WY 6O:TT - ZO
Craig
Craig         Palmer
              Palmer      PPS25-0264
                          PPS25-0264       Tristan
                                           Tristan      Seaver
                                                        Seaver            PPS25-0287
                                                                          PPS25-0287

Cynthia
Cynthia       Paris
              Paris       PPS25-0265
                          PPS25-0265       Westley
                                           Westley      Seifert
                                                        Seifert           PPS25-0288
                                                                          PPS25-0288

M.
M. Frederick
   Frederick | Parsons
               Parsons    PPS25-0266
                          PPS25-0266       Terri
                                           Terri Lynn
                                                 Lynn   Shean-Gilam
                                                        Shean-Gilam | PPS25-0289
                                                                      PPS25-0289

Cody
Cody          Patton
              Patton      PPS25-0267
                          PPS25-0267       Katie
                                           Katie        Shiflett
                                                        Shiflett          PPS25-0290
                                                                          PPS25-0290

Vincent
Vincent       Piazza
              Piazza      PPS25-0268
                          PPS25-0268       Kenneth
                                           Kenneth      Short
                                                        Short             PPS25-0291
                                                                          PPS25-0291

Timothy
Timothy       Pinney
              Pinney      PPS25-0269
                          PPS25-0269       Jordan
                                           Jordan       Sitarski
                                                        Sitarski          PPS25-0292
                                                                          PPS25-0292

Nancy
Nancy         Porter
              Porter      PPS25-0270
                          PPS25-0270       Thomas
                                           Thomas       Skinner
                                                        Skinner           PPS25-0293
                                                                          PPS25-0293

Mason
Mason         Potter
              Potter      PPS25-0271
                          PPS25-0271       Bryan
                                           Bryan        Smith
                                                        Smith             PPS25-0294
                                                                          PPS25-0294

Benjamin
Benjamin      Purser
              Purser      PPS25-0272
                          PPS25-0272       Brian
                                           Brian        Smith
                                                        Smith             PPS25-0295
                                                                          PPS25-0295
Jason
Jason         Ramey
              Ramey       PPS25-0319
                          PPS25-0319       Garrett
                                           Garrett      Smith
                                                        Smith             PPS25-0296
                                                                          PPS25-0296

Jadyn
Jadyn         Ramey
              Ramey       PPS25-0320
                          PPS25-0320       Gean
                                           Gean         Smith
                                                        Smith             PPS25-0297
                                                                          PPS25-0297

Richard
Richard       Ramirez
              Ramirez     PPS25-0273
                          PPS25-0273       Katie
                                           Katie Jo
                                                 Jo     Smith
                                                        Smith             PPS25-0298
                                                                          PPS25-0298

Christopher
Christopher | Reed
              Reed        PPS25-0274
                          PPS$25-0274      Anthony
                                           Anthony      Spada
                                                        Spada             PPS25-0299
                                                                          PPS25-0299

Gavin
Gavin         Rees
              Rees        PPS25-0275
                          PPS25-0275       Melissa
                                           Melissa      Spencer-Bryant
                                                        Spencer-Bryant   | PPS25-0300
                                                                           PPS25-0300

Lisa
Lisa          Rees
              Rees        PPS25-0276
                          PPS25-0276       Samuel
                                           Samuel       Staton
                                                        Staton            PPS25-0301
                                                                          PPS25-0301

Cheryl
Cheryl        Richey
              Richey      PPS25-0277
                          PPS25-0277       Shelby
                                           Shelby       Stauble
                                                        Stauble           PPS25-0302
                                                                          PPS25-0302




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 Frances           Stewart            PPS25-0399                  Stephen           Waters             PPS25-0119

 Jason             Stoor              PPS25-0303                  Michael           Weaver             PPS25-0311

 Steven            Stosur             PPS25-0304                  Ryan E.           Weekley            PPS25-0120

 Joshua            Swanson            PPS25-0401                  Austin            Weekley            PPS25-0121

 Cody              Swartz             PPS25-0402                  Ryan M.           Weekley            PPS25-0122

 Ravon             Swindell           PPS25-0403                  Barbara           West               PPS25-0312

 Ramona            Talvacchio         PPS25-0305                  Crystal           Williams           PPS25-0313

 Jeffrey           Teitel             PPS25-0306                  Jack L.           Williams           PPS25-0314

 John              Thompson           PPS25-0307                  Gregory           Willing            PPS25-0315

 John              Udy                PPS25-0308                  Conni             Wilson             PPS25-0128

 Robert            Vick II            PPS25-0116                  Edwin             Young              PPS25-0316

 Brad              Votaw              PPS25-0117                  Nick              Zotti              PPS25-0317

 Zachary           Wakid              PPS25-0309

 Ambiko            Wallace            PPS25-0310

as private process servers in the above-captioned matter. In support of said motion, Plaintiff/Petitioner states that the
above-named individuals are on the Court’s list of approved process servers and the information contained in their
applications and affidavits on file is current and still correct.
                                                                  Respectfully Submitted,
                                                                 Sarah J. Duggan #73687
                                                                 1600 Genessee St., Ste. 956
                                                                 Kansas City, MO 64102
                                                                 Tele: (816) 756-5458
                                                                 Fax: (816_ 666-9596
                                                                 sduggan@brownandcurry.com
                                                                 Attorney for Plaintiff

                          ORDER FOR APPOINTMENT OF PRIVATE PROCESS SERVER
It is hereby ordered that Petitioner/Plaintiff’s Motion for Appointment of Private Process Server is sustained and that
HPS Process Service & Investigations and the above named individuals are hereby appointed to serve process in the
above captioned matter.

DATE:                                                            ______________________________
                                                                 Judge or Circuit Clerk




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                                                                                                                                   - Palla Ajpestuos998/3
                                      IN
                                      IN THE
                                         THE CIRCUIT
                                             CIRCUIT COURT
                                                     COURT OFOF JACKSON
                                                                JACKSON COUNTY
                                                                         COUNTY
                                               AT KANSAS
                                               AT KANSAS CITY,
                                                          CITY, MISSOURI
                                                                MISSOURI
Stacie
Stacie McCall
       McCall




                                                                                                                                   - NOSMOVE
                                 ))
           Plaintiff/Petitioner,
           Plaintiff/Petitioner,         ))
VS.
VS.                                      ))                  Case
                                                             Case No.:2516-CV04651
                                                                    No.:2516-CV04651
                                         ))




                                                                                                                                   ‘TZ Arenugas - ALIDO SVSNV™
Truman
Truman Medical
        Medical Center,
                  Center, Inc.
                            Inc.         ))                  Division
                                                             Division No.:
                                                                       No.: 44
         Defendant/Respondent.
         Defendant/Respondent. _ ))
                            MOTION
                            MOTION FOR FOR APPOINTMENT
                                               APPOINTMENT OF    OF PRIVATE
                                                                     PRIVATE PROCESS
                                                                                  PROCESS SERVER
                                                                                              SERVER
COMES
COMES NOWNOW Plaintiff/Petitioner,
                Pilaintiff/Petitioner, by
                                       by and
                                            and through
                                                through counsel,
                                                         counsel, and
                                                                    and pursuant
                                                                         pursuant to to Local
                                                                                        Local Rule
                                                                                              Rule 4.9
                                                                                                     4.9 of
                                                                                                         of Jackson
                                                                                                            Jackson County
                                                                                                                    County Court
                                                                                                                           Court
Rules,
Rules, hereby
       hereby moves
               moves forfor the
                            the appointment
                                 appointment of of HPS
                                                   HPS Process
                                                        Process Service
                                                                  Service & & Investigations,
                                                                               Investigations, Inc.:
                                                                                               Inc.:


                                                                      Diana
                                                                      Diana              Blea
                                                                                         Blea                PPS25-0151
                                                                                                             PPS25-0151
 William
 William               Acree
                       Acree             PPS25-0134
                                         PPS25-0134
                                                                      Richard
                                                                      Richard            Blea
                                                                                         Blea                PPS25-0152
                                                                                                             PPS25-0152
 Paul
 Paul                  Aizel
                       Aizel             PPS25-0135
                                         PPS25-0135




                                                                                                                                   WY 6O:TT - ZO
                                                                      Thomas
                                                                      Thomas             Bogue
                                                                                         Bogue               PPS25-0153
                                                                                                             PPS25-0153
 Mark
 Mark                  Allen
                       Allen             PPS25-0136
                                         PPS25-0136
                                                                      Raymond
                                                                      Raymond            Brandy
                                                                                         Brandy              PPS25-0154
                                                                                                             PPS25-0154
 Sandra
 Sandra                Allen
                       Allen             PPS25-0137
                                         PPS25-0137                   Kathy              Broom               PPS95-0155
                                                                      Kathy              Broom               PPS25-0155
 Tracy
 Tracy                 Arnold
                       Arnold            PPS25-0138
                                         PPS25-0138                   James              Burke               PPS95.9379
                                                                      James              Burke               PPS25-0379
 Jeffrey
 Jeffrey               Aronson
                       Aronson           PPS25-0321
                                         PPS25-0321                   Gary               Burt                PPS95.0156
                                                                      Gary               Burt                PPS25-0156
 Brian
 Brian                 Bankowski
                       Bankowski         PPS25-0139
                                         PPS25-0139                   Adam               Burton              PPS95-0157
                                                                      Adam               Burton              PPS25-0157
 Tarah
 Tarah                 Beaulieu
                       Beaulieu          PPS25-0140
                                         PPS25-0140                   Steve              Butcher             PPS95_0380
                                                                      Steve              Butcher             PPS25-0380
 Richard               Benito            PPS25-0141
 Richard               Benito            pps2s-0141                   Veronica
                                                                      Veronica     _| Calderon
                                                                                      Calderon               PPS25-0158
                                                                                                             PPS25-0158
 Brenda
 Brenda                Benoit
                       Benoit            PPS25-0142
                                         PPS25-0142                   Karen              Calkins             PPS95-0159
                                                                      Karen              Calkins             PPS25-0159
 Allison
 Allison               Bernardo
                       Bernardo          PPS25-0143
                                         PPS25-0143                   Bobby              Calvert             PPS95-0160
                                                                      Bobby              Calvert             PPS25-0160
 Daniela
 Daniela               Bert
                       Bert              PPS25-0144
                                         PPS25-0144                   Anna               Canole              PPS75.0164
                                                                      Anna               Canole              PPS25-0161
 Mathew
 Math                  Bert
                       Bert              PPS25-0145
                                         PPS25-014
   anew                  °                  825-0146                  Justin
                                                                      Justin             Carlson
                                                                                         Carlson             PPS25-0162
                                                                                                             PPS25-0162
 David
 David                 Biddle
                       Biddl             PPS25-0146
                                         PPS25-0146
   a                     aad                                          Charles
                                                                      Charles            Casey
                                                                                         Casey               PPS25-0163
                                                                                                             PPS25-0163
 Nicholas
 Nichol                Bill
                       Bill              PPS25-0147
                                         PPS25-0147
   ienoras               |                                            Gina
                                                                      Gina               Cash
                                                                                         Cash                PPS25-0164
                                                                                                             PPS25-0164
 Bryan
 Bryan                 Blair
                       Blair             PPS25-0148
                                         PPS25-0148
                                                                      George
                                                                      George             Castillo
                                                                                         Castillo            PPS25-0165
                                                                                                             PPS25-0165
 Keith
 Keith                 Blanchard
                       Blanchard         PPS25-0149
                                         PPS25-0149
                                                                      Lori
                                                                      Lori               Cole
                                                                                         Cole                PPS25-0166
                                                                                                             PPS25-0166
 Eddie
 Eddie                 Bland
                       Bland             PPS25-0150
                                         PPS25-0150
                                                                      Krehl
                                                                      Krehl              Coleman
                                                                                         Coleman             PPS25-0167
                                                                                                             PPS25-0167




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Susan
Susan         Collins
              Collins       PPS25-0168
                            PPS25-0168       Abel
                                             Abel         Emiru
                                                          Emiru            PPS25-0192
                                                                           PPS25-0192




                                                                                        - NOSMOVE
Chad
Chad          Compton
              Compton       PPS25-0169
                            PPS25-0169       Donald
                                             Donald       Eskra
                                                          Eskra Jr.
                                                                Jr.        PPS25-0193
                                                                           PPS25-0193

James
James         Cox
              Cox           PPS25-0018
                            PPS25-0018       Cindy
                                             Cindy        Ethridge
                                                          Ethridge         PPS25-0031
                                                                           PPS25-0031

Kimberley
Kimberley     Cox
              Cox           PPS25-0171
                            PPS25-0171       Larry
                                             Larry        Evans
                                                          Evans            PPS25-0194
                                                                           PPS25-0194




                                                                                        ‘TZ Arenugas - ALIDO SVSNV™
Dennis
Dennis        Dahlberg
              Dahlberg      PPS25-0021
                            PPS25-0021       Robert
                                             Robert       Fairbanks
                                                          Fairbanks        PPS25-0195
                                                                           PPS25-0195
Maria
Maria         Darling
              Darling       PPS25-0172
                            PPS25-0172       Ryan
                                             Ryan         Fortune
                                                          Fortune          PPS25-0196
                                                                           PPS25-0196

Bryce
Bryce         Dearborn
              Dearborn      PPS25-0173
                            PPS25-0173       Melissa
                                             Melissa      Fritz
                                                          Fritz            PPS25-0197
                                                                           PPS25-0197

Robert
Robert        DeLacy
              DeLacy III
                     III    PPS25-0174
                            PPS25-0174       Richard
                                             Richard      Gerber
                                                          Gerber           PPS25-0198
                                                                           PPS25-0198

Robert
Robert        DeLacy
              DeLacy Jr
                     Jr     PPS25-0175
                            PPS25-0175       Kurie
                                             Kurie        Ghersini
                                                          Ghersini         PPS25-0385
                                                                           PPS25-0385




                                                                                        WY 6O:TT - ZO
Dominic
Dominic       DellaPorte
              DellaPorte    PPS25-0176
                            PPS25-0176       Adam
                                             Adam         Golden
                                                          Golden           PPS25-0199
                                                                           PPS25-0199
Cheryl
Cheryl        Dofelmire
              Dofelmire     PPS25-0177
                            PPS25-0177       Bradley
                                             Bradley      Gordon
                                                          Gordon           PPS25-0200
                                                                           PPS25-0200

Claudia
Claudia       Dohn
              Dohn          PPS25-0178
                            PPS25-0178       Kimberly
                                             Kimberly     Greenway
                                                          Greenway         PPS25-0201
                                                                           PPS25-0201

Amy
Amy           Donarski
              Donarski      PPS25-0179
                            PPS25-0179       Dawn
                                             Dawn         Griffin-Luce
                                                          Griffin-Luce     PPS25-0202
                                                                           PPS25-0202

Aaron
Aaron         Donarski
              Donarski Sr.
                       Sr. | PPS25-0180
                             PPS25-0180      Paul
                                             Paul         Grimes
                                                          Grimes           PPS25-0203
                                                                           PPS25-0203

Dale
Dale          Dorning
              Dorning       PPS25-0181
                            PPS25-0181       Charles
                                             Charles      Gunndug
                                                          Gunndug          PPS25-0204
                                                                           PPS25-0204

Catherine
Catherine     Drake
              Drake         PPS25-0182
                            PPS25-0182       Mark
                                             Mark         Hagood
                                                          Hagood           PPS25-0205
                                                                           PPS25-0205

John
John          Dressler
              Dressler      PPS25-0183
                            PPS25-0183       John
                                             John         Harder
                                                          Harder           PPS25-0387
                                                                           PPS25-0387

Rebecca
Rebecca       Dressler
              Dressler      PPS25-0184
                            PPS25-0184       Christy
                                             Christy      Hartline
                                                          Hartline         PPS25-0389
                                                                           PPS25-0389
Terrence
Terrence      Drew
              Drew          PPS25-0185
                            PPS25-0185       James
                                             James        Harvey
                                                          Harvey Jr.
                                                                 Jr.       PPS25-0206
                                                                           PPS25-0206

Michael
Michael       Dunard
              Dunard        PPS25-0186
                            PPS25-0186       Grace
                                             Grace        Hazell
                                                          Hazell           PPS25-0207
                                                                           PPS25-0207

Josh
Josh          Dunn
              Dunn          PPS25-0187
                            PPS25-0187       Stephen
                                             Stephen      Heitz
                                                          Heitz            PPS25-0208
                                                                           PPS25-0208

Randy
Randy         Earl
              Earl          PPS25-0188
                            PPS25-0188       Austen
                                             Austen       Hendrickson
                                                          Hendrickson | PPS25-0209
                                                                        PPS25-0209

Courtney
Courtney      Edwards
              Edwards       PPS25-0189
                            PPS25-0189       Elizabeth
                                             Elizabeth    Henson
                                                          Henson           PPS25-0210
                                                                           PPS25-0210

Christopher
Christopher | Eixenberger
              Eixenberger | PPS25-0190
                            PPS25-0190       Michael
                                             Michael      Hibler
                                                          Hibler           PPS25-0211
                                                                           PPS25-0211

Sheri
Sheri         Eixenberger
              Eixenberger | PPS25-0191
                            PPS25-0191       Trinity
                                             Trinity      Hibler
                                                          Hibler           PPS25-0212
                                                                           PPS25-0212




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                                                                                         Electronically Filed - JACKSON - KANSAS CITY - February 21, 2025 - 11:09 AM
                                                                                         - Palla Ajpestuos998/3
Averi
Averi        Holman
             Holman      PPS25-0213
                         PPS25-0213       Jennifer
                                          Jennifer        Lecuyer
                                                          Lecuyer           PPS25-0318
                                                                            PPS25-0318




                                                                                         - NOSMOVE
Jenna
Jenna        Holt
             Holt        PPS25-0214
                         PPS25-0214       John
                                          John            Lichtenegger
                                                          Lichtenegger | PPS25-0234
                                                                         PPS25-0234

Parry
Parry        Howell
             Howell      PPS25-0215
                         PPS25-0215       Bryan
                                          Bryan           Liebhart
                                                          Liebhart          PPS25-0235
                                                                            PPS25-0235

Martin
Martin       Hueckel
             Hueckel     PPS25-0216
                         PPS25-0216       Bert
                                          Bert            Lott
                                                          Lott              PPS25-0236
                                                                            PPS25-0236




                                                                                         ‘TZ Arenugas - ALIDO SVSNV™
Michael
Michael D
        D    Huffman
             Huffman     PPS25-0217
                         PPS25-0217       Robert
                                          Robert          Maliuuk
                                                          Maliuuk           PPS25-0237
                                                                            PPS25-0237
Pamela
Pamela S
       S     Huffman
             Huffman     PPS25-0218
                         PPS25-0218       Winnonna
                                          Winnonna        Maliuuk
                                                          Maliuuk           PPS25-0238
                                                                            PPS25-0238

Anthony
Anthony      Iavarone
             lavarone    PPS25-0219
                         PPS25-0219       Bonnie
                                          Bonnie          Marvin
                                                          Marvin            PPS25-0239
                                                                            PPS25-0239

George
George       Illidge
             Illidge     PPS25-0220
                         PPS25-0220       Michael
                                          Michael         McMahon
                                                          McMahon           PPS25-0240
                                                                            PPS25-0240

Frank
Frank        James
             James       PPS25-0221
                         PPS25-0221       Michael
                                          Michael         Meador
                                                          Meador            PPS25-0241
                                                                            PPS25-0241




                                                                                         WY 6O:TT - ZO
Matthew
Matthew      Jankowski
             Jankowski   PPS25-0222
                         PPS25-0222       James
                                          James           Meadows
                                                          Meadows           PPS25-0242
                                                                            PPS25-0242

Zachary
Zachary      Jenkins
             Jenkins     PPS25-0223
                         PPS25-0223       Krista
                                          Krista          Meadows
                                                          Meadows           PPS25-0243
                                                                            PPS25-0243

Betty
Betty        Johnson
             Johnson     PPS25-0224
                         PPS25-0224       Jerry
                                          Jerry           Melber
                                                          Melber            PPS25-0244
                                                                            PPS25-0244

Kevin
Kevin        Johnson
             Johnson     PPS25-0225
                         PPS25-0225       Carrie
                                          Carrie          Melte
                                                          Melte             PPS25-0245
                                                                            PPS25-0245

Ron
Ron          Johnson
             Johnson     PPS25-0226
                         PPS25-0226       Eric
                                          Eric            Mendenhall
                                                          Mendenhall        PPS25-0246
                                                                            PPS25-0246

Patrick
Patrick      Jones
             Jones       PPS25-0227
                         PPS25-0227       Matthew
                                          Matthew         Millhollin
                                                          Millhollin        PPS25-0247
                                                                            PPS25-0247

Kenneth
Kenneth      Kearney
             Kearney     PPS25-0228
                         PPS25-0228       Carla
                                          Carla           Monegain
                                                          Monegain          PPS25-0248
                                                                            PPS25-0248

Ken
Ken          Klewicki
             Klewicki    PPS25-0229
                         PPS25-0229       Spencer
                                          Spencer         Montgomery
                                                          Montgomery | PPS25-0249
                                                                       PPS25-0249

Janice
Janice       Kirkhart
             Kirkhart    PPS25-0056
                         PPS25-0056       Christopher
                                          Christopher | Moore
                                                        Moore               PPS25-0250
                                                                            PPS25-0250

Tyler
Tyler        Kirkhart
             Kirkhart    PPS25-0057
                         PPS25-0057       Daniel
                                          Daniel          Moore
                                                          Moore             PPS25-0251
                                                                            PPS25-0251

Brent
Brent        Kirkhart
             Kirkhart    PPS25-0058
                         PPS25-0058       Michael
                                          Michael         Morrison
                                                          Morrison          PPS25-0252
                                                                            PPS25-0252

Anthony
Anthony      Ko
             Ko          PPS25-0230
                         PPS25-0230       Nancy
                                          Nancy           Muchnick
                                                          Muchnick          PPS25-0253
                                                                            PPS25-0253

Michele
Michele      Kriner
             Kriner      PPS25-0231
                         PPS25-0231       Kelly
                                          Kelly           Murski
                                                          Murski            PPS25-0254
                                                                            PPS25-0254

Wyman
Wyman        Kroft
             Kroft       PPS25-0412
                         PPS25-0412       Paul
                                          Paul            Nardizzi
                                                          Nardizzi          PPS25-0255
                                                                            PPS25-0255

Casey
Casey        Lanford
             Lanford     PPS25-0232
                         PPS25-0232       Lance
                                          Lance           Neff
                                                          Neff              PPS25-0256
                                                                            PPS25-0256

Marcus
Marcus       Lawing
             Lawing      PPS25-0233
                         PPS25-0233       Wendy
                                          Wendy           Neff
                                                          Neff              PPS25-0257
                                                                            PPS25-0257




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                                                                                        - Palla Ajpestuos998/3
Jeremy
Jeremy        Nicholas
              Nicholas    PPS25-0079
                          PPS25-0079       Chase
                                           Chase        Ridgeway
                                                        Ridgeway          PPS25-0278
                                                                          PPS25-0278




                                                                                        - NOSMOVE
Aubrianna
Aubrianna     Nichols
              Nichols     PPS25-0258
                          PPS25-0258       Richard
                                           Richard      Rober
                                                        Rober             PPS25-0279
                                                                          PPS25-0279

Diana
Diana         Nichols
              Nichols     PPS25-0259
                          PPS25-0259       David
                                           David        Roberts
                                                        Roberts           PPS25-0280
                                                                          PPS25-0280

Jeffrey
Jeffrey       Nichols
              Nichols     PPS25-0260
                          PPS25-0260       Patricia
                                           Patricia     Roberts
                                                        Roberts           PPS25-0281
                                                                          PPS25-0281




                                                                                        ‘TZ Arenugas - ALIDO SVSNV™
Carla
Carla         Niekamp
              Niekamp     PPS25-0359
                          PPS25-0359       Richard
                                           Richard      Ross
                                                        Ross Jr.
                                                             Jr.          PPS25-0282
                                                                          PPS25-0282

Michael
Michael       Noble
              Noble       PPS25-0080
                          PPS25-0080       Steve
                                           Steve        Rozhon
                                                        Rozhon            PPS25-0283
                                                                          PPS25-0283

Daryl
Daryl         Oestreich
              Oestreich   PPS25-0262
                          PPS25-0262       Rene
                                           Rene Ann
                                                Ann     Rulo
                                                        Rulo              PPS25-0284
                                                                          PPS25-0284

Branson
Branson       Oxford
              Oxford      PPS25-0394
                          PPS25-0394       Robert
                                           Robert       Sanders
                                                        Sanders           PPS25-0285
                                                                          PPS25-0285

Daniel
Daniel        Owens
              Owens       PPS25-0263
                          PPS25-0263       Vincent
                                           Vincent      Sarelli
                                                        Sarelli           PPS25-0286
                                                                          PPS25-0286




                                                                                        WY 6O:TT - ZO
Craig
Craig         Palmer
              Palmer      PPS25-0264
                          PPS25-0264       Tristan
                                           Tristan      Seaver
                                                        Seaver            PPS25-0287
                                                                          PPS25-0287

Cynthia
Cynthia       Paris
              Paris       PPS25-0265
                          PPS25-0265       Westley
                                           Westley      Seifert
                                                        Seifert           PPS25-0288
                                                                          PPS25-0288

M.
M. Frederick
   Frederick | Parsons
               Parsons    PPS25-0266
                          PPS25-0266       Terri
                                           Terri Lynn
                                                 Lynn   Shean-Gilam
                                                        Shean-Gilam | PPS25-0289
                                                                      PPS25-0289

Cody
Cody          Patton
              Patton      PPS25-0267
                          PPS25-0267       Katie
                                           Katie        Shiflett
                                                        Shiflett          PPS25-0290
                                                                          PPS25-0290

Vincent
Vincent       Piazza
              Piazza      PPS25-0268
                          PPS25-0268       Kenneth
                                           Kenneth      Short
                                                        Short             PPS25-0291
                                                                          PPS25-0291

Timothy
Timothy       Pinney
              Pinney      PPS25-0269
                          PPS25-0269       Jordan
                                           Jordan       Sitarski
                                                        Sitarski          PPS25-0292
                                                                          PPS25-0292

Nancy
Nancy         Porter
              Porter      PPS25-0270
                          PPS25-0270       Thomas
                                           Thomas       Skinner
                                                        Skinner           PPS25-0293
                                                                          PPS25-0293

Mason
Mason         Potter
              Potter      PPS25-0271
                          PPS25-0271       Bryan
                                           Bryan        Smith
                                                        Smith             PPS25-0294
                                                                          PPS25-0294

Benjamin
Benjamin      Purser
              Purser      PPS25-0272
                          PPS25-0272       Brian
                                           Brian        Smith
                                                        Smith             PPS25-0295
                                                                          PPS25-0295
Jason
Jason         Ramey
              Ramey       PPS25-0319
                          PPS25-0319       Garrett
                                           Garrett      Smith
                                                        Smith             PPS25-0296
                                                                          PPS25-0296

Jadyn
Jadyn         Ramey
              Ramey       PPS25-0320
                          PPS25-0320       Gean
                                           Gean         Smith
                                                        Smith             PPS25-0297
                                                                          PPS25-0297

Richard
Richard       Ramirez
              Ramirez     PPS25-0273
                          PPS25-0273       Katie
                                           Katie Jo
                                                 Jo     Smith
                                                        Smith             PPS25-0298
                                                                          PPS25-0298

Christopher
Christopher | Reed
              Reed        PPS25-0274
                          PPS$25-0274      Anthony
                                           Anthony      Spada
                                                        Spada             PPS25-0299
                                                                          PPS25-0299

Gavin
Gavin         Rees
              Rees        PPS25-0275
                          PPS25-0275       Melissa
                                           Melissa      Spencer-Bryant
                                                        Spencer-Bryant   | PPS25-0300
                                                                           PPS25-0300

Lisa
Lisa          Rees
              Rees        PPS25-0276
                          PPS25-0276       Samuel
                                           Samuel       Staton
                                                        Staton            PPS25-0301
                                                                          PPS25-0301

Cheryl
Cheryl        Richey
              Richey      PPS25-0277
                          PPS25-0277       Shelby
                                           Shelby       Stauble
                                                        Stauble           PPS25-0302
                                                                          PPS25-0302




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                                                                                                                            Electronically Filed - JACKSON - KANSAS CITY - February 21, 2025 - 11:09 AM
 Frances           Stewart            PPS25-0399                  Stephen           Waters             PPS25-0119

 Jason             Stoor              PPS25-0303                  Michael           Weaver             PPS25-0311

 Steven            Stosur             PPS25-0304                  Ryan E.           Weekley            PPS25-0120

 Joshua            Swanson            PPS25-0401                  Austin            Weekley            PPS25-0121

 Cody              Swartz             PPS25-0402                  Ryan M.           Weekley            PPS25-0122

 Ravon             Swindell           PPS25-0403                  Barbara           West               PPS25-0312

 Ramona            Talvacchio         PPS25-0305                  Crystal           Williams           PPS25-0313

 Jeffrey           Teitel             PPS25-0306                  Jack L.           Williams           PPS25-0314

 John              Thompson           PPS25-0307                  Gregory           Willing            PPS25-0315

 John              Udy                PPS25-0308                  Conni             Wilson             PPS25-0128

 Robert            Vick II            PPS25-0116                  Edwin             Young              PPS25-0316

 Brad              Votaw              PPS25-0117                  Nick              Zotti              PPS25-0317

 Zachary           Wakid              PPS25-0309

 Ambiko            Wallace            PPS25-0310

as private process servers in the above-captioned matter. In support of said motion, Plaintiff/Petitioner states that the
above-named individuals are on the Court’s list of approved process servers and the information contained in their
applications and affidavits on file is current and still correct.
                                                                  Respectfully Submitted,
                                                                 Sarah J. Duggan #73687
                                                                 1600 Genessee St., Ste. 956
                                                                 Kansas City, MO 64102
                                                                 Tele: (816) 756-5458
                                                                 Fax: (816_ 666-9596
                                                                 sduggan@brownandcurry.com
                                                                 Attorney for Plaintiff

                          ORDER FOR APPOINTMENT OF PRIVATE PROCESS SERVER
It is hereby ordered that Petitioner/Plaintiff’s Motion for Appointment of Private Process Server is sustained and that
HPS Process Service & Investigations and the above named individuals are hereby appointed to serve process in the
above captioned matter.




                                     02/25/2025
                                         DEPUTY COURT ADMINISTRATOR
      Case 4:25-cv-00218-WBG                   Document 1-1            Filed 03/28/25          Page 42 of 48
              IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI


 Judge or Division:                                                 Case Number: 2516-CV04651
 PATRICK CHARLES EDWARDS
 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
 STACIE MCCALL                                                      SARAH JESSICA DUGGAN
                                                                    312 W
                                                              vs.   KANSAS CITY, MO 64112
 Defendant/Respondent:                                              Court Address:
 TRUMAN MEDICAL CENTER, INC.                                        415 E 12th
 DBA: UNIVERSITY HEALTH - BEHAVIORAL                                KANSAS CITY, MO 64106
 HEALTH SERVICES
 Nature of Suit:
 CC Employmnt Discrmntn 213.111                                                                                                       (Date File Stamp)

                                                              Summons in Civil Case
      The State of Missouri to: TRUMAN MEDICAL CENTER, INC.
                                      Alias:
                                      DBA: UNIVERSITY HEALTH - BEHAVIORAL HEALTH SERVICES

  RA: JUSTUS, JOLIE L
  2301 HOLMES ST
  KANSAS CITY, MO 64108
         COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for plaintiff/petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                                    25-FEB-2025                                _________________________________________
                                                        Date                                                    Clerk
        JACKSON COUNTY                 Further Information:

                                                                Sheriff’s or Server’s Return
      Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
      I certify that I have served the above Summons by: (check one)
          delivering a copy of the summons and petition to the defendant/respondent.
          leaving a copy of the summons and petition at the dwelling place or usual abode of the defendant/respondent with
            _____________________________________________a person at least 18 years of age residing therein.
          (for service on a corporation) delivering a copy of the summons and petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
      ____________________________________________                                      _____________________________________________
                     Printed Name of Sheriff or Server                                                    Signature of Sheriff or Server
            (Seal)                  Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
                                    My commission expires: __________________________              _____________________________________________
                                                                              Date                                     Notary Public


      Sheriff’s Fees
      Summons                  $
      Non Est                  $
      Sheriff’s Deputy Salary
      Supplemental Surcharge   $       10.00
      Mileage                  $                      (______ miles @ $.______ per mile)
      Total                    $
      A copy of the summons and petition must be served on each defendant/respondent. For methods of service on all classes of suits, see
      Supreme Court Rule 54.
OSCA (11/2021) SM30 (JAKSMCC) For Court Use Only: Document Id # 25-SMCC-1869 1 of 1Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                  Case 4:25-cv-00218-WBG Document 1-1 Filed 03/28/25                                          Page 43 of 48
                                                                                                   54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                      SUMMONS/GARNISHMENT SERVICE
                      SUMMONS/GARNISHMENT SERVICE PACKETS
                                                  PACKETS
                             ATTORNEY INFORMATION
                             ATTORNEY INFORMATION



Under
Under the
        the Missouri
             Missouri e-filing
                         e-filing system
                                  system now
                                           now utilized
                                                 utilized by
                                                           by the   16"th Judicial
                                                               the 16     Judicial Circuit
                                                                                    Circuit Court,
                                                                                             Court, once
                                                                                                    once aa case
                                                                                                            case has
                                                                                                                 has been
                                                                                                                     been
accepted
accepted for
           for filing,
               filing, aa clerk  prepares the
                           clerk prepares  the necessary
                                                necessary documents
                                                             documents for  for service.
                                                                                service. The
                                                                                          The summons/garnishment
                                                                                               summons/garnishment is   is
sent to the  attorney   by   an e-mail containing     a link so  that the  filer may   print and
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the   deliver the
summons/garnishment,
summons/garnishment, pleadingspleadings and
                                         and any
                                              any other
                                                    other necessary
                                                           necessary documents
                                                                        documents to  to the
                                                                                         the person
                                                                                             person designated
                                                                                                     designated to
                                                                                                                 to serve
                                                                                                                    serve
the documents.
the documents.

Pursuant
Pursuant to
          to State
             State statutes,
                    statutes, Supreme
                              Supreme Court
                                       Court Rules
                                              Rules and
                                                     and Local
                                                          Local Court
                                                                 Court Rules,
                                                                        Rules, attorneys
                                                                               attorneys are
                                                                                           are required
                                                                                               required to print,
                                                                                                        to print,
attach
attach and
       and serve
            serve specific
                   specific documents
                             documents with
                                        with certain
                                             certain types
                                                      types of
                                                            of Petitions
                                                               Petitions and
                                                                          and other
                                                                              other filings.
                                                                                    filings.

Please
Please refer
       refer to
             to the
                the Court’s
                    Court’s website
                            website for
                                    for instructions
                                        instructions on
                                                     on how
                                                        how to
                                                            to assemble
                                                               assemble the
                                                                        the service packets at:
                                                                            service packets at:

16thcircuit.org
16thcircuit.org →
                — Electronic
                  Electronic Filing
                              Filing Information
                                     Information →— Required
                                                    Required Documents
                                                             Documents for
                                                                       for Service
                                                                           Service —– eFiled
                                                                                      eFiled cases
                                                                                             cases →
                                                                                                   >
Summons/Garnishment
Summons/Garnishment Service
                       Service Packet
                                Packet Information.
                                       Information.

Please
Please review
       review this
              this information periodically, as
                   information periodically, as revisions
                                                revisions are
                                                          are frequently
                                                              frequently made.
                                                                         made. Thank
                                                                               Thank you.
                                                                                     you.



                                                             Circuit
                                                             Circuit Court
                                                                     Court of
                                                                           of Jackson
                                                                              Jackson County
                                                                                      County




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                                                                                                                    6/2020
                                                                                     Electronically Filed - JACKSON - KANSAS CITY - March 10, 2025 - 10:54 AM
                                                                                     - pals Ajpesiuo.9a/5
          IN
          IN THE
             THE CIRCUIT
                 CIRCUIT COURT
                         COURT OF
                                OF JACKSON
                                   JACKSON COUNTY,
                                            COUNTY, MISSOURI
                                                    MISSOURI
                            AT
                            AT KANSAS
                               KANSAS CITY
                                       CITY




                                                                                     - NOSMOVE
                                        ))
STACIE MCCALL,
STACIE MCCALL,                          ))
                   Plaintiff,
                   Plaintiff,           ))
                                        ))




                                                                                     - ALIO SVSNV™
v.
V                                       ))   Case No: 2516-CV04651
                                             Case No: 2516-CV04651
TRUMAN
TRUMAN MEDICAL
         MEDICAL CENTER,
                  CENTER, INC.
                            INC. D/B/A
                                 D/B/A) )
UNIVERSITY  HEALTH   - BEHAVIORAL
UNIVERSITY HEALTH - BEHAVIORAL         ))
HEALTH
HEALTH SERVICES
        SERVICES                       ))
                                       ))




                                                                                     IY 7&:0T - SZOZ ‘OT YEW
                                       ))
                                       ))
                                       ))
                                       ))
                 Defendant.
                 Defendant.            )
                                       )

                                RETURN
                                RETURN OF
                                       OF SERVICE
                                          SERVICE

      Pursuant
      Pursuant to
               to Mo.R.Civ.P
                  Mo.R.Civ.P 54.13,
                             54.13, service
                                    service of
                                            of Summons
                                               Summons and
                                                       and Petition
                                                           Petition by
                                                                    by private
                                                                       private

process server
process        was executed
        server was executed to
                            to Defendant
                               Defendant on
                                         on February
                                            February 27,
                                                     27, 2025,
                                                         2025, as
                                                               as evidenced by
                                                                  evidenced by

the
the attached
    attached affidavit.
             affidavit.


                                             Respectfully
                                             Respectfully submitted,
                                                          submitted,


                                              Cxby
                                             ____________________
                                             Sarah
                                             Sarah J.J. Duggan
                                                        Duggan #73687
                                                                 #73687
                                             1600
                                             1600 Genessee
                                                    Genessee St.,
                                                               St., Ste.
                                                                    Ste. 956
                                                                         956
                                             Kansas    City, MO
                                             Kansas City, MO 64102 64102
                                             Tele:
                                             Tele: (816)
                                                    (816) 756-5458
                                                           756-5458
                                             Fax:  (816_   666-9596
                                             Fax: (816 666-9596
                                             sduggan@brownandcurry.com
                                             sduggan@brownandcurry.com

                                             ATTORNEY
                                             ATTORNEY FOR
                                                      FOR PLAINTIFF
                                                          PLAINTIFF




    Case 4:25-cv-00218-WBG       Document 1-1    Filed 03/28/25      Page 45 of 48
                                                                                                                    Electronically Filed - JACKSON - KANSAS CITY - March 10, 2025 - 10:54 AM
                                                                                                                    - pals Ajpesiuo.9a/5
                                    CERTIFICATE
                                    CERTIFICATE OF
                                                OF SERVICE
                                                   SERVICE




                                                                                                                    - NOSMOVE
         II hereby
            hereby certify
                    certify that
                              that on
                                    on March
                                        March 10,10, 2025,
                                                      2025, the
                                                              the foregoing
                                                                   foregoing document
                                                                             document was
                                                                                       was electronically
                                                                                            electronically filed
                                                                                                            filed
with the
with  the Clerk
            Clerk of
                   of the
                       the Court
                            Court using
                                     using the
                                             the electronic
                                                  electronic filing
                                                                filing system
                                                                       system which
                                                                              which automatically
                                                                                     automatically transmits
                                                                                                     transmits aa
Notice of
Notice   of Electronic
             Electronic Filing
                          Filing to
                                  to all
                                      all counsel
                                          counsel ofof record.
                                                        record.




                                                                                                                    - ALIO SVSNV™
                                                    /s/
                                                    /s/ Sarah
                                                        Sarah J.
                                                              J. Duggan
                                                                 Duggan
                                                    ATTORNEY FOR
                                                    ATTORNEY       FOR PLAINTIFFS
                                                                        PLAINTIFFS




                                                                                                                    IY 7&:0T - SZOZ ‘OT YEW




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                                                                                                                                                                 Electronically Filed - JACKSON - KANSAS CITY - March 10, 2025 - 10:54 AM
                                                                                                                                                                 - pals Ajpesiuo.9a/5
                                                       AFFIDAVIT OF SERVICE




                                                                                                                                                                 - NOSMOVE
State of Missouri                                                 County of Jackson                                                              Circuit Court

Case Number: 2516-CV04651




                                                                                                                                                                 - ALIO SVSNV™
Plaintiff/Petitioner:
STACIE MCCALL
vs.

Defendant/Respondent:
TRUMAN MEDICAL CENTER, INC.

Received by HPS Process Service & Investigations to be served on Truman Medical Center, Inc., d/b/a University




                                                                                                                                                                 IY 7&:0T - SZOZ ‘OT YEW
Health — Behavioral Health Services, RA: Jolie Justus, 2301 Holmes Street, Kansas City, MO 64108.

1, CHRISTOPHER REED, being duly sworn, depose and say that on the 27th day of February, 2025 at 10:40 am, 1:

Served the within named establishment by delivering a true copy of Summons in Civil Case; Petition for
Damages; Exhibits; Notice of Case Management Conference for Civil Case and Order for Mediation; and
Designation of Lead Attorney of Record to Amanda O'Neill, Associate General Counsel at the address of 2301
Holmes Street, Kansas City, MO 64108.


| certify that | have no interest in the above action, am of legal age and have proper authority in the jurisdiction in
which this service was made. | declare under penalty of perjury that the foregoing is true and correct.




                                                                                                                                             y
                                                                                                   ’                             /       /
                                                                                                       t+                  t-/       j
                                                                                                 [Tuwtal W—                (“ek
                                                                                     CHRISTOPHER REED
                                                                                     Process Server
Subscri          and Swern to Beie* me on the               { 2     day
of saad     aY-¥ alll QOS _ by the affiant who is                                    HPS Process Service & Investigations
personally known to                                                                  www.hpsprocess.com
             .                                                                       1669 Jefferson
                                                                                     Kansas City, MO 64108
NOJARY PUBLIC                                                                        (800) 796-9559
           JESSICA KIEWEL
                                                                                     Our Job Serial Number: HAT-2025003192
wv com ae                         as
       KRY PUBLIC - NOTARY SEAL

           A NSCOUNTY
      SOMA ISSION #2181 gigt
                               oT      Copyright © 1992-2025 DreamBuilt Software, Inc. - Process Server's Toolbox V9.0a




      Case 4:25-cv-00218-WBG                            Document 1-1                     Filed 03/28/25                   Page 47 of 48
                                                                                                                                                                                   Electronically Filed - JACKSON - KANSAS CITY - March 10, 2025 - 10:54 AM
                                                                                                                                                                                   - pals Ajpesiuo.9a/5
          i,      IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI


 Judge or Division:                                                           Case Number: 2516-CV04651
 PATRICK CHARLES EDWARDS




                                                                                                                                                                                   - NOSMOVE
| Plaintiff/Petitioner:                                                       Plaintiff’s/Petitioner’s Attorney/Address
  STACIE MCCALL                                                               SARAH JESSICA DUGGAN
                                                                                312 W
                                                                       vs.    | KANSAS CITY, MO          64112
 Defendant/Respondent:                                                        Court Address:




                                                                                                                                                                                   - ALIO SVSNV™
  TRUMAN MEDICAL CENTER, INC.                                                 415 E 12th
 DBA:          UNIVERSITY HEALTH- BEHAVIORAL                                 | KANSAS CITY, MO 64106
 HEALTH          SERVICES
 Nature of Suit:
 CC Employmnt Discrmntn 213.111                                                                                                                           (Date File Stamp)
                                                                        Summons in Civil Case




                                                                                                                                                                                   IY 7&:0T - SZOZ ‘OT YEW
      The State of Missouri to:               TRUMAN MEDICAL CENTER, INC.
                                              Alias:
                                              DBA:    UNIVERSITY HEALTH - BEHAVIORAL HEALTH SERVICES

  230 HOLMESST.
  KANSAS CITY, MO           64108
                                                                                                          PRIVATE PROCESS SERVER
           COURT SEAL OF                            You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                              which is attached, and to serve a copy of your pleading upon the attorney for plaintiff/petitioner at the
                                              above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                              file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                                             25-FEB-2025
                                                                Date                                                                Clerk
          JACKSON COUNTY                      Further Information:

                                                                              Sheriff’s or Server’s Return
      Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
      I certify that I have served the above Summons by: (check one)
      (1) delivering a copy of the summons and petition to the defendant/respondent.
           leaving a copy of the summons and petition at the dwelling place or usual abode of the defendant/respondent with
                                                                 a person at least 18 years of age residing therein.
      Ader service on a corporation) delivering a copy of the summons and petition to

                           Amare                     Ofsterce                                    (name) Assocs wre Gene totrt ConeoarSeZ                               (title).
      CT other                                                                                                                                                                :
     Sevedat               G6O(           Hotuers               Sréerr                              Apersiece, Evry Ho. vilOR                                     (address)
     in                   SACKS o                       (County/City of St, Louis), MO, on               2-2T-FS                   _(date)at        (OS4O         a     ~¢time).
                          Cupsropuer.                    Led                                                        Clurstpee—                   Seed’
                          Printed Name of Sheriffor Server                                                                 Signature of Sheriff or Server
                 (Seal)                  Must be sworn before 2 notary public if not served by in authorized officer:
                                         Subscribed and sworn to before me on               34 | lo IES                                        (date),
                                         My commission expires:                 TH         fas
                                                                                   .       ate                                                 Notary Public


      Sheriff’s Fees                                                                                                                            —
                                                                                                                                 JESSICA KIEW!
      Summons                             $                                                                               NOTARY PUBLIC « NOuRY SEAL
      Non Est                             $                                                                                    STATE OF Mi     RY
      Sheriff's Deputy Salary                                                                                          MY COMMISSION rahi JULY 18; 2025
      Supplemental Surcharge              §          10,00                                                                     COMMS             UNTY
      Mileage                             $                              (         miles @ $.          per Mile) Ammen            CMMISSION #2161991              |
      Total                               $
      A copy of the summons and petition must be served on each defendant/respondent.                            For methods of service on all classes of suits, see
      Supreme Court Rule 54.

OSCA (11/2021) SM30 (AKSMCC) For Court Use Only: Document Id # 25-SMCC-1869                         1 of {Civil Procedure Form No. 1, Rules 54.01 — 54.05,
                                                                                                                          54.13, and 54.20; 506.120 — 506.140, and 506.150 RSMo
                   Case 4:25-cv-00218-WBG                                    Document 1-1             Filed 03/28/25               Page 48 of 48
